Case: 22-1027   Document: 00118013031   Page: 1   Date Filed: 05/22/2023   Entry ID: 6569846




                     UNITED STATES COURT OF APPEALS
                          FOR THE FIRST CIRCUIT

                               Appeal No. 22-1027
                 _______________________________________________

                                 MARIO CRUZADO,

                                Petitioner-Appellant,

                                           v.

                  NELSON ALVES, Superintendent of MCI Norfolk,

                                Respondent-Appellee.
                                ____________________

       ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR
                  THE DISTRICT OF MASSACHUSETTS

                            Case No. 1:18-cv-12361-DJC
                          The Honorable Denise J. Casper
                 _______________________________________________

           CORRECTED BRIEF OF PETITIONER-APPELLANT MARIO
                                 CRUZADO
               _______________________________________________

                             Emma Quinn-Judge (1st Cir. #1138229)
                             Thomas Miller (1st Cir. #1207777)
                             Zalkind Duncan & Bernstein LLP
                             65a Atlantic Avenue
                             Boston, MA 02110
                             (617) 742-6020
                             equinn-judge@zalkindlaw.com
                             tmiller@zalkindlaw.com

         May 22, 2023
Case: 22-1027      Document: 00118013031              Page: 2       Date Filed: 05/22/2023           Entry ID: 6569846




                                  Table of Contents
      Jurisdictional Statement........................................................................... 1

      Statement of the Issue .............................................................................. 2

      Statement of the Case ............................................................................... 2

      Summary of Argument ............................................................................ 14

      Argument ................................................................................................. 18

           I. Jurisdiction ..................................................................................... 18
              A. The District Court’s initial order denying a writ of habeas
              corpus and providing thirty days to address appealability was not
              a “final order” in the context of a habeas proceeding because it did
              not comply with habeas rules or this Court’s local rules .............. 19
              B. In the alternative, the motion for extension of time to brief
              appealability, filed within thirty days of the District Court’s order
              denying a writ of habeas corpus, was the functional equivalent of
              a notice of appeal ............................................................................ 21
           II. The Writ of Habeas Corpus Should Issue ..................................... 27
              A. Standard of review..................................................................... 28
              B. Cruzado has exhausted his state court remedies...................... 30
              C. Admitting the unredacted recording in which Cruzado
              repeatedly used a racial epithet violated due process and rendered
              Cruzado’s trial fundamentally unfair ............................................ 30
                 1. Serious evidentiary errors can warrant habeas relief. .......... 31
                 2.The Supreme Judicial Court’s decision was an unreasonable
                 application of due process principles. ........................................ 33
                 3.The recording was unfairly prejudicial to Cruzado. ............... 34
                 4. The unfairly prejudicial portion of the recording had minimal
                 probative value. .......................................................................... 38


                                                            i
Case: 22-1027      Document: 00118013031              Page: 3       Date Filed: 05/22/2023           Entry ID: 6569846




              D. Admitting the recording had a substantial and injurious effect
              or influence in determining on the jury’s verdict .......................... 43
      Conclusion ............................................................................................... 46

      Certificate of Compliance ........................................................................ 47




                                                           ii
Case: 22-1027     Document: 00118013031                Page: 4        Date Filed: 05/22/2023            Entry ID: 6569846




                                              Table of Authorities
      Cases
      Anderson v. District of Columbia, 72 F.3d 166 (D.C. Cir. 1995) ............ 25

      Barbosa v. Mitchell, 812 F.3d 62 (1st Cir. 2016) .................................... 28

      Bowles v. Russell, 551 U.S. 205 (2007) ................................................... 22

      Campiti v. Matesanz, 333 F.3d 317 (1st Cir. 2003) .......................... 23, 24

      Clark v. Cartledge, 829 F.3d 303 (4th Cir. 2016).................................... 24

      Commonwealth v. Bishop, 461 Mass. 586, 963 N.E.2d 88 (2012) .......... 39

      Commonwealth v. Cruzado, 480 Mass. 275, 103 N.E.3d 732 (2018)
         ...................................................................................................... passim

      Coningford v. Rhode Island, 640 F.3d 478 (1st Cir. 2011) ......... 31, 32, 42

      Evans v. Thompson, 518 F.3d 1 (1st Cir. 2008) ...................................... 29

      Fortini v. Murphy, 257 F.3d 39 (1st Cir. 2001)....................................... 30

      Foxworth v. St. Amand, 570 F.3d 414 (1st Cir. 2009) .......... 28, 43, 45, 46

      Gomes v. Silva, 958 F.3d 12 (1st Cir. 2020) ............................................ 31

      Hawkins v. United States, 358 U.S. 74, 80 (1958) .................................. 46

      Huddleston v. United States, 485 U.S. 681 (1988) ................................. 33

      Lyons v. Brady, 666 F.3d 51 (2012)......................................................... 31

      McKinney v. Rees, 993 F.2d 1378 (9th Cir. 1993) ................................... 32

      Miller-El v. Cockrell, 537 U.S. 322 (2003) .............................................. 29

      Miranda v. Arizona, 384 U.S. 436 (1966) ............................................... 34


                                                            iii
Case: 22-1027      Document: 00118013031                 Page: 5        Date Filed: 05/22/2023             Entry ID: 6569846




      Monteiro v. Tempe Union High Sch. Dist., 158 F.3d 1022 (9th Cir. 1998)
         .............................................................................................................. 34

      O’Brien v. Town of Bellingham, 943 F.3d 514 (1st Cir. 2019)................ 25

      O’Neal v. McAninch, 513 U.S. 432 (1995) ............................................... 28

      Ortberg v. Moody, 961 F.2d 135 (9th Cir. 1992) ..................................... 26

      Payne v. Tennessee, 501 U.S. 808 (1991)................................................. 31

      Rivera v. Thompson, 879 F.3d 7 (1st Cir. 2018) ............................... 29, 34

      Smith v. Barry, 502 U.S. 244 (1992) ....................................................... 22

      Thomas v. Morton Int’l, Inc., 916 F.2d 39 (1st Cir. 1990) (per curiam) . 23

      Torres v. Oakland Scavenger Co., 487 U. S. 312 (1988)) ........................ 22

      United States v. Gamory, 635 F.3d 480 (11th Cir. 2011) ....................... 34

      United States v. Gonyer, 761 F.3d 157 (1st Cir. 2014) ........................... 38

      United States v. Gooch, 842 F.3d 1274 (2016) .................................. 24, 25

      United States v. Hardy, 37 F.3d 753 (1st Cir. 1994) .............................. 43

      United States v. Lawrence, 889 F.2d 1187 (1st Cir. 1989) ..................... 34

      United States v. Pena, 24 F.4th 46 (1st Cir. 2022) ................................. 38

      United States v. Price, 13 F.3d 711 (3d Cir. 1994) .................................. 42

      United States v. Rodriguez-Rosado, 854 F.3d 122 (1st Cir. 2017) ......... 26

      United States v. Saccoccia, 58 F.3d 754 (1st Cir. 1995) ......................... 35

      United States v. Smith, 292 F.3d 90 (1st Cir. 2002) ............................... 37

      United States v. Wells, 879 F.3d 900 (9th Cir. 2018) .............................. 33


                                                              iv
Case: 22-1027      Document: 00118013031               Page: 6        Date Filed: 05/22/2023            Entry ID: 6569846




      Wells v. Ryker, 591 F.3d 562 (7th Cir. 2010) .......................................... 23

      White v. Coplan, 399 F.3d 18 (1st Cir. 2005)) ......................................... 29

      Williams v. Taylor, 529 U.S. 362 (2000) ................................................. 29

      Statutes
      28 U.S.C. § 2241 ........................................................................................ 1

      28 U.S.C. § 2253 ...................................................................... 1, 13, 19, 21

      28 U.S.C. § 2254 .......................................................................... 27, 28, 30

      Other Authorities
      Randall Kennedy, Who Can Say ‘Nigger’? . . . And Other Considerations,
        26 Journal of Blacks in Higher Education 86 (2000) .......................... 40

      Mass. Guide to Evid. § 403 ...................................................................... 31

      Mass. Guide to Evid. § 404 ...................................................................... 31

      Gregory S. Parks & Shayne E. Jones, Nigger: A Critical Race Realist
        Analysis of the N-Word within Hate Crimes Law, 98 J. Crim. L. &
        Criminology 1305 (2007-2008) ............................................................. 40

      Gary Suarez, When Latinx People Use the N-Word, N.Y. Times, Oct. 17,
        2019 ...................................................................................................... 40

      Rules
      1st Cir. R. 22.0 ......................................................................................... 20

      Fed. R. App. P. 3 .......................................................................... 15, 19, 22

      Fed. R. App. P. 4 ................................................................................ 19, 20




                                                            v
Case: 22-1027     Document: 00118013031              Page: 7        Date Filed: 05/22/2023          Entry ID: 6569846




      Fed. R. Civ. P. 6 ....................................................................................... 24

      Fed. R. Civ. P. 59 ..................................................................................... 24

      Fed. R. Evid. 403 ................................................................... 15, 32, 33, 38

      Fed. R. Evid. 404 ......................................................................... 15, 32, 37

      Rules Governing § 2254 Cases, Rule 11 ........................................... 20, 21

      Constitutional Provisions
      U.S. Const. amend. XIV ............................................................................ 2




                                                          vi
Case: 22-1027   Document: 00118013031   Page: 8   Date Filed: 05/22/2023   Entry ID: 6569846




                             Jurisdictional Statement

            This is an appeal from the denial of a petition for a writ of habeas

      corpus, which this Court has jurisdiction to hear under 28 U.S.C.

      § 2253. Petitioner-Appellant, Mario Cruzado, was sentenced to life in

      prison for murder by the Suffolk County Superior Court on December

      19, 2012. (App. 7.) He filed a motion for a new trial on July 1, 2016,

      which was denied by the trial court judge on March 30, 2017. (App. 8.)

      The Supreme Judicial Court (“SJC”), the highest court of

      Massachusetts, affirmed his conviction and the denial of his motion for

      a new trial on August 10, 2018. See Commonwealth v. Cruzado, 480

      Mass. 275, 103 N.E.3d 732 (2018) (Add. 21-37.)

            On November 13, 2018, Cruzado filed his pro se petition for a writ

      of habeas corpus in the District Court, which had jurisdiction under 28

      U.S.C. § 2241. (See App. 13.) The District Court denied this petition on

      November 3, 2021 (Add. 7), and issued a certificate of appealability

      under 28 U.S.C. § 2253(c) with respect to one issue on January 4, 2022.

      (Add. 20.) Cruzado filed a notice of appeal that same day. (App. 107.) In

      response to this Court’s order (App. 109), additional briefing regarding

      the bases for jurisdiction is provided below. See infra Part I.


                                           1
Case: 22-1027   Document: 00118013031   Page: 9   Date Filed: 05/22/2023   Entry ID: 6569846




                               Statement of the Issue

         1. Whether Petitioner-Appellant is entitled to the writ of habeas

            corpus because the erroneous admission of a recording in which

            he used a highly inflammatory racial epithet rendered his trial

            fundamentally unfair, thus denying him due process of law, in

            violation of the Fourteenth Amendment of the Constitution of

            the United States.


                              Statement of the Case1

            This case is about the power of a single uniquely repugnant term,

      two syllables that the shameful parts of our nation’s history have

      imbued with an unparalleled potential to create offense and anger: the

      n-word. Near the end of a heated and frustrating police interrogation,

      Petitioner-Appellant Mario Cruzado made the mistake of using this

      word. At trial, the prosecution then exploited that single moment to

      paint Cruzado as a racist and to inject racial animus into a case from


            1 The facts are drawn from the trial transcripts (citations to T_:_

      are by volume and page number) and other documents in the record.
      Recognizing this Court’s deference to state court factfinding, this
      summary is intended to be consistent with the SJC’s statement of facts,
      see Commonwealth v. Cruzado, 480 Mass. 275, 276-77, 103 N.E.3d 732,
      736 (2018), while providing additional relevant details.


                                           2
Case: 22-1027   Document: 00118013031   Page: 10   Date Filed: 05/22/2023   Entry ID: 6569846




       which it was otherwise entirely absent. Despite a complete lack of

       physical evidence linking Cruzado to the crime scene and an obvious

       alternative culprit, Cruzado was convicted and sentenced to life in

       prison without the possibility of parole. Because this highly prejudicial

       evidence rendered his trial fundamentally unfair, Cruzado now seeks

       the writ of habeas corpus.

            Frederick Allen III was found dead in his apartment in Chelsea on

       November 26, the Friday after Thanksgiving, in 2010. (T5:20.) He had a

       belt wrapped around his neck and had suffered blunt force trauma to

       his head; a broken glass vase found near his body was evidently the

       source of that injury. (T4:122-23, 220; T5:21.) Allen was a gay, Black

       man. (T3:88-89.)

            Allen’s apartment was the lower unit in a two-family house.

       (T2:113-14.) His landlord, who lived above him, had gone out grocery

       shopping around 7:30 P.M. on Wednesday, November 24. (T2:124.)

       When she returned about an hour later, she found that the glass in a

       door providing access to a back porch had been smashed. (T2:128-29.)

       She knocked on Allen’s door but got no response. (T2:131-32.) Several

       hours later, she called the police, who came and took a report about the


                                            3
Case: 22-1027   Document: 00118013031   Page: 11   Date Filed: 05/22/2023   Entry ID: 6569846




       broken glass. (T2:149-50.) Around midnight, she heard a door open and

       close in the common front hall of the house. (T2:140.)

            During the police investigation of the killing, suspicion first

       focused on Allen’s boyfriend, Jaime Hernandez. Hernandez was an

       alcoholic; he and Allen also both used crack cocaine. (T3:62-63, 72.) The

       relationship had lasted slightly over a year. (T3:58.) It was occasionally

       abusive: approximately one month prior to Allen’s death, a home health

       aide employed by Allen saw Hernandez hit Allen in the face. (T6:15-16.)

       Hernandez had a record of criminal convictions, and Allen had

       previously filed reports with police accusing Hernandez of stealing from

       him. (T3:56, T5:143-45.)

            Chelsea police initially interrogated Hernandez on Friday night,

       after the discovery of Allen’s body. (T3:103-05.) At first, Hernandez was

       untruthful in his responses to questions, denying that he had any

       romantic relationship with Allen. (T3:106-08, T5:27.) After being

       confronted with evidence of the relationship, Hernandez changed his

       story and gave the police an account of the two previous days—an




                                            4
Case: 22-1027   Document: 00118013031   Page: 12   Date Filed: 05/22/2023   Entry ID: 6569846




       account that, for the first time, connected Cruzado to the case.2 (T5:31-

       32.)

              Hernandez claimed that he encountered Cruzado on the street in

       Chelsea on Wednesday. (T3:78.) The two had known each other casually

       more than a decade before. (T3:76-78.) Around midday, the two men

       went back to Allen’s apartment, where they drank with Allen. (T3:78-

       81.) Allen and Cruzado also apparently smoked crack cocaine. (T3:86-

       87.) Cruzado and Hernandez stayed for about thirty to forty minutes,

       after which Hernandez walked Cruzado to a bus stop so that Cruzado

       could take a bus into Boston. (T3:87, 91-92.) Hernandez then returned

       to Allen’s apartment, but an argument ensued and Hernandez left.

       (T3:94-97.) He once again ran into Cruzado, who was still on the street

       in Chelsea. (T3:98-99.) Hernandez himself went to Boston and spent the

       next two days at a friend’s house and with his mother. He claimed to

       have had no further contact with Allen before his death. (T3:99-103.)

       The State Trooper interviewing Hernandez did not, at the time, believe

       that Hernandez was telling the truth, and later testified that he


              2 This account given in the later part of Hernandez’s first

       interview with police was consonant in its essentials with Hernandez’s
       testimony at trial, summarized below.

                                             5
Case: 22-1027   Document: 00118013031   Page: 13   Date Filed: 05/22/2023   Entry ID: 6569846




       believed “[v]irtually everything [Hernandez] was telling [him] was a

       lie.” (T5:35, 105.) During their investigation, police also learned that on

       Saturday, November 27, Hernandez allegedly argued with another

       friend, whom he grabbed by the throat during their altercation.

       (T3:233.)

            Eleven days later, on December 7, 2010, after details of Allen’s

       death had been published in local news sources, Hernandez reappeared

       of his own volition at the Chelsea police station and made a second

       statement. (T5:124.) He claimed that on the previous day he had

       encountered Cruzado yet again by chance in the street in Chelsea and

       that Cruzado had said to him, “I’ll choke you like I did your friend.”

       (T3:141-42.) Hernandez did not react to this spontaneous confession at

       the time. (Id.) The following day, the day of his police statement,

       Hernandez went to see a friend at his apartment on the third floor of a

       nearby building. (T3:145, 148.) When the friend did not appear to be

       home, Hernandez waited on the landing. (T3:149.) Suddenly, he heard

       Cruzado on the stairs on a lower floor, out of Hernandez’s sight, talking

       on the phone in a combination of English and Spanish. (T3:150-52.) In

       particular, Hernandez claimed that he heard Cruzado say that he



                                            6
Case: 22-1027   Document: 00118013031   Page: 14   Date Filed: 05/22/2023   Entry ID: 6569846




       “blacked out” and then found his “arm around someone’s neck” and that

       Cruzado used the Spanish word for “belt.” (T3:152-53.) Hernandez

       believed that Cruzado was speaking to a woman. (T3:154.) Hernandez

       then walked down the stairs—directly past Cruzado but without

       making contact with him—and went to the police station. (T3:155-56.)

            After hearing Hernandez’s statement, police went to the building

       where he had been and discovered Cruzado asleep on the stairs. (T4:80-

       83.) Cruzado was taken to the police station and questioned. (T4:95-96.)

       He said that he had run into Hernandez on the street in Chelsea the

       Wednesday before Thanksgiving, but denied going anywhere with

       Hernandez or ever going inside a house that day. (App. 45-48, 53-54.)

       He also denied knowing anyone by Allen’s name or recognizing Allen’s

       photograph. (App. 68, 73-74.) Under repeated, circuitous questioning,

       Cruzado became increasingly frustrated. Not long after being shown the

       photograph, he stated, “I don’t want to talk to you.” (App. 86.)

            A cell phone that had been found next to Cruzado on the stairs

       was meanwhile seized and analyzed, revealing that the last phone call

       placed on December 7, shortly before Hernandez appeared at the police

       station, was to Hilda Matiaz, a former girlfriend of Cruzado. (T4:90,


                                            7
Case: 22-1027   Document: 00118013031   Page: 15   Date Filed: 05/22/2023   Entry ID: 6569846




       T5:65-69.) Police did not question Matiaz until March 2011, after she

       had been arrested for drunk driving in February 2011. (T4:13, 17.) She

       told police that Cruzado had called her on December 7 to tell her about

       an incident in which he had met up with a friend and gone to the home

       of a Black man, where he had showered and then fallen asleep in his

       boxers. (T3:269-71.) When he awoke to the Black man touching his

       testicles, he reacted by pushing the man away, putting him in a

       headlock, and saying that he was “not a faggot.” (T3:271-72.) The man

       fell to the floor, and Cruzado left. (T3:272-73.) The defense theory at

       trial was that some or all of this story had been suggested to Matiaz by

       police, who had delayed questioning her until she was facing criminal

       charges herself. (T6:39-40.)

            The police also obtained a record of phone calls made from Allen’s

       home phone on November 24. (T5:95-99.) The last outgoing calls were

       made at 7:05 P.M. and 7:19 P.M. to two different numbers in Montreal,

       where Allen’s ex-husband lived.3 (Id.) Between 5:57 P.M. and 6:44 P.M.,



            3 There was no testimony about the content of these calls at trial,

       but police apparently interviewed Allen’s ex-husband, who claimed that
       Allen had told him that Hernandez has brought someone to the
       apartment; that Allen and Hernandez had subsequently fought and


                                            8
Case: 22-1027   Document: 00118013031   Page: 16   Date Filed: 05/22/2023   Entry ID: 6569846




       five outgoing calls were made to Matiaz. (Id.) There was no evidence of

       Allen calling Matiaz before, and Matiaz testified that she did not know

       Allen. (T4:25.) She did not testify about who made the calls to her or

       what was said during the calls. At trial, the defense suggested that

       Cruzado could have given Allen Matiaz’s number, but was not

       permitted to argue that Matiaz, who had a prior conviction for heroin

       possession, was a drug dealer and could have been contacted by Allen

       for that reason. (T2:13-18, T6:38.)

            The Commonwealth presented no forensic evidence that Cruzado

       had ever been in Allen’s apartment. Cruzado was in fact excluded as a

       source of DNA from samples taken from the belt and the vase involved

       in Allen’s death. (T4:202.) Dried blood on clothes worn by Cruzado at

       the time of his interrogation—which Hernandez had claimed was the

       same clothing Cruzado had worn the day he and Cruzado went to

       Allen’s apartment—turned out to be Cruzado’s own. (T4:143, 196;

       T5:49-51.) A shoeprint found on the broken glass did not match

       Cruzado’s shoe. (T6:28.)



       Hernandez had left; and that the other individual had returned, asked
       the victim to have sex, then left after the victim had refused. (App. 89.)

                                             9
Case: 22-1027   Document: 00118013031   Page: 17   Date Filed: 05/22/2023   Entry ID: 6569846




            A recording of Cruzado’s December 7 interview with police was

       played, with some redactions, at trial. (T5:57-58.) One portion that was

       not redacted was the following exchange, which occurred when the

       Trooper presented Cruzado with a photograph of Allen:

            Q: I’m going to show you a picture of a guy. See if you’ve ever
            seen this guy before.
            A: Who’s that?
            Q: I’m asking you. Isn’t this—I’m asking you. Have you ever
            seen this guy before? Yes or no?
            A.: Who the fuck is that? Just a guy?
            Q.: No, listen to me. Listen to me. Have you ever seen this
            guy before? Yes or no.
            A.: He looks like a nigger to me.
            Q.: Have you ever seen this guy before?
            A.: He looks like a nigger to me.
            Q.: Have you ever seen this guy right here before?
            A.: He looks like a nigger to me. No. He’s black.
            Q.: No. It’s a yes or no question.
            A.: He’s black.
            ...
            Q.: Yes or no?
            A.: Where the fuck I’ve ever seen him? I don't know that
            mother fucker.

       (Add. 39-40; App. 73-74.)

            The defense filed a motion in limine to exclude this portion of the

       recording, but the Court allowed the evidence as relevant to a racist

       motive for the killing. (T1:24-28.) Defense counsel objected, noting—

       accurately—that aside from the exchange, “nothing in the case point[ed]


                                           10
Case: 22-1027     Document: 00118013031   Page: 18   Date Filed: 05/22/2023   Entry ID: 6569846




       to racial motive whatsoever.” (T1:26.) The Court disagreed with defense

       counsel, explaining that the evidence “goes to the motive. Your client is

       I think going to allege that he was the victim of a homosexual advance

       by a man that he calls a nigger.” (T1:27.) The Court concluded that the

       racial epithet “adds to his motive . . . . It’s not only a gay man, possibly

       a transvestite . . . but also an African-American man. All three biases

       come to play in this alleged incident.” (Id.)

            In light of the pre-trial ruling that Cruzado’s use of the n-word

       was admissible, the judge questioned jurors during voir dire about

       whether hearing the n-word would affect their impartiality. The judge

       did so, however, by inquiring about this point “in terms of the race

       question.” (T1:29.) The resulting question was as follows: “The

       defendant is Hispanic, the alleged victim was African-American. You

       will also hear evidence that the defendant allegedly referred to the

       alleged victim as a nigger. Do you have any feelings based on race that

       might affect your ability to be fair and impartial?” (T1:50-51 (emphasis

       added).)

            The prosecutor made pointed reference to Cruzado’s use of this

       racially-charged term at the end of her opening statement. After


                                             11
Case: 22-1027   Document: 00118013031   Page: 19   Date Filed: 05/22/2023   Entry ID: 6569846




       warning the jury that Cruzado would “absolutely deny in that interview

       ever knowing Fred Allen,” she focused their attention instead on the

       epithet. “His exact words: ‘I don’t know that nigger.’ Those were the

       words he used,” she stressed, not making use of any euphemism (like

       “n-word”) herself—and, in fact, misquoting Cruzado, who did not use

       the precise phrase she attributed to him. (T2:72; cf. Add. 39-40; App. 73-

       74.) She returned to the word again in the climax of her closing

       argument to the jury: “[T]he second this Fred Allen, this nigger and a

       faggot, decided to make a sexual advance on him and grab his testicles,

       well the fun was over because that is when, ladies and gentleman, the

       defendant attacked Fred Allen.” (T6:60.) The prosecutor also implicitly

       relied on the race-based language to cast Cruzado’s interview—in which

       he repeatedly denied involvement—as inculpatory: “[Hernandez] didn’t

       do this. The defendant did. You know it from the phone records, you

       know it from his own words, you know it from his statements to the

       police.” (T6:62.)

             The jury convicted Cruzado of first-degree murder on a theory of

       deliberate premeditation only. (T6:111-12.) Cruzado filed a motion for a

       new trial on July 1, 2016, which was denied by the trial court judge on



                                           12
Case: 22-1027     Document: 00118013031   Page: 20   Date Filed: 05/22/2023   Entry ID: 6569846




       March 30, 2017. (App. 8.) The SJC affirmed his conviction and the

       denial of his new trial motion on August 10, 2018. See Cruzado, 480

       Mass. 275, 103 N.E.3d 732. (Add. 21.) On November 13, 2018, Cruzado

       filed his pro se petition for a writ of habeas corpus in the District Court.

       (App. 13, Dkt. No. 1.) After appointing counsel, the District Court

       considered and denied Cruzado’s petition on November 3, 2021,

       resulting in its dismissal. (Add. 7-19; App. 15, Dkt. Nos. 38-39.) As

       discussed further below, in the order denying the habeas petition, the

       court did not decide whether to grant a certificate of appealability under

       28 U.S.C. § 2253(c), but gave Cruzado a further thirty days to brief the

       issue of whether a certificate was warranted. (Id.) On November 30,

       2021, Cruzado sought a seven-day extension of time for the deadline

       “for filing his Memorandum of Law in Support of Issuance of Certificate

       of Appealability,” which was allowed. (App. 15, Dkt. Nos. 40-41.). He

       then timely filed his memorandum on December 9, 2021. (App. 15, Dkt.

       No. 42.)

            On January 4, 2022, the District Court granted a certificate of

       appealability on the single issue now presented for this Court’s review:

       whether the admission of the portion of the recorded interrogation in


                                             13
Case: 22-1027   Document: 00118013031   Page: 21   Date Filed: 05/22/2023   Entry ID: 6569846




       which Cruzado used the n-word rendered his trial fundamentally

       unfair, thus denying him due process of law. (Add. 20, cf. 11; App. 16,

       Dkt. No. 43.) Cruzado’s notice of appeal was filed that same day, on

       January 4, 2022. (App. 16, Dkt. No. 44.) The appeal was docketed in

       this Court on January 12, 2022. (App. 19.) On March 21, 2022, this

       Court ordered Cruzado to show cause why the appeal should not be

       dismissed as untimely; Cruzado responded the following day, on March

       22, 2022. (Id.) On December 16, 2022, this Court issued a further order

       allowing the appeal to proceed but requesting further briefing on

       timeliness. (Id.)

                               Summary of Argument

            This Court has jurisdiction to hear Cruzado’s appeal. His notice of

       appeal was timely: habeas rules and this Court’s local rules require that

       a final ruling on a petition for a writ of habeas corpus contain a decision

       on appealability. Here, the District Court’s decision denying habeas

       corpus was contingent and explicitly invited further briefing on

       appealability. As such, the District Court only issued a “final order”

       pursuant to the rules that apply to habeas proceedings when it issued

       its order on the certificate of appealability, and Cruzado timely filed a



                                           14
Case: 22-1027   Document: 00118013031   Page: 22   Date Filed: 05/22/2023   Entry ID: 6569846




       notice of appeal upon receipt of that order. In the alternative, this Court

       has jurisdiction because Cruzado’s timely motion for an extension of

       time to brief the question of appealability was—as several courts of

       appeal have already recognized—the functional equivalent of a notice of

       appeal. Treating his motion as such is consistent with the Supreme

       Court’s instruction to liberally construe the requirements of Rule 3 of

       the Federal Rules of Appellate Procedure.

            As to the merits, Cruzado’s petition for a writ of habeas corpus

       should be granted. The Antiterrorism and Effective Death Penalty Act

       of 1996 (AEDPA) permits federal courts to grant habeas relief to

       petitioners who have exhausted available state proceedings and

       received a state court decision on the merits that involved an

       “unreasonable application” of “clearly established federal law.” Cruzado

       appropriately exhausted his state court remedies by bringing his federal

       due process claim to the Massachusetts Supreme Judicial Court.

            This Court has recognized that serious evidentiary errors that

       result in a fundamentally unfair trial can provide a basis for habeas

       relief, especially where such errors infuse the trial with inflammatory

       prejudice. Rules 403 and 404(b) of the Federal Rules of Evidence—and


                                           15
Case: 22-1027   Document: 00118013031   Page: 23   Date Filed: 05/22/2023   Entry ID: 6569846




       their state analogues—embody fundamental due process principles, and

       the erroneous application of those principles can infect a trial with such

       unfairness that the resulting conviction is a denial of due process.

            The SJC’s decision was an unreasonable application of due process

       principles. First, the SJC dismissed Cruzado’s due process claim in a

       single-sentence footnote that misstated the law by erroneously

       suggesting that due process concerns never arise where the prejudicial

       evidence comes from a defendant’s own statements. Second, the SJC

       failed to consider the degree of unfair prejudice that Cruzado

       experienced when the unredacted recording was admitted: the SJC did

       not address the degree to which the n-word offends or the fact that

       because it was the only evidence of racial animus, its admission injected

       race into a trial that did not otherwise have an explicit racial

       dimension. Instead, the SJC concluded that prejudice was mitigated by

       a voir dire question about the n-word, but that question was insufficient

       because it confusingly conflated jurors’ “feelings based on race”

       generally with their response to Cruzado’s use of the n-word. Third, the

       unfairly prejudicial recording had minimal probative value: the defense,

       which maintained Cruzado’s innocence, raised no argument to which



                                           16
Case: 22-1027   Document: 00118013031   Page: 24   Date Filed: 05/22/2023   Entry ID: 6569846




       the n-word recording was responsive—indeed, the trial court’s decision

       to admit the evidence in the first place was based on the belief that the

       defense would make a justifiable homicide argument, which it did not.

       Moreover, the recording could easily have been redacted to remove this

       information: the recording was redacted in other respects and truncated

       such that it stopped before Cruzado invoked his right to remain silent.

            Admitting the unredacted recording had a substantial and

       injurious effect or influence on the jury verdict. The evidence in this

       case was close: the forensic testing was exculpatory, Allen’s boyfriend

       was a highly-plausible alternate suspect, and the defense had

       reasonable theories to cast doubt on the limited evidence that linked

       Cruzado to the crime. Given the absence of other evidence of racial

       animus, the unconstitutional admission of the inflammatory racial

       epithet likely had a substantial and injurious effect or influence on the

       jury’s verdict. As such, the writ should issue.




                                           17
Case: 22-1027   Document: 00118013031   Page: 25   Date Filed: 05/22/2023   Entry ID: 6569846




                                        Argument

         I.     Jurisdiction

              The District Court denied Cruzado’s petition for a writ of habeas

       corpus on November 3, 2021, without issuing a final ruling on the

       issuance of a certificate of appealability. (Add. 7-18; App. 15, Dkt. No.

       38.) Instead, the District Court indicated that while it was “not inclined

       to issue a certificate of appealability,” Cruzado would have thirty days

       “to file a memorandum, if he seeks to address the issue of whether a

       certificate of appealability is warranted as to either or both grounds in

       the Petition.” (Add. 17.) On November 30, 2021, Cruzado sought a

       seven-day extension of the deadline “for filing his Memorandum of Law

       in Support of Issuance of Certificate of Appealability.” (App. 15, Dkt.

       No. 40.) The motion was allowed without opposition, and Cruzado

       timely filed his memorandum on December 9, 2021. (App. 15, Dkt. No.

       41-42.) On January 4, 2022, the District Court granted a certificate of

       appealability as to one of the two issues raised by Cruzado, and that

       same day, Cruzado filed his Notice of Appeal. (Add. 20; App. 16, Dkt.

       Nos. 43-44.)




                                           18
Case: 22-1027   Document: 00118013031   Page: 26   Date Filed: 05/22/2023   Entry ID: 6569846




            Given that no formal notice of appeal was filed within thirty days

       of the District Court’s initial order denying Cruzado’s habeas petition,

       this Court requested further briefing on appellate jurisdiction. (App.

       109.) This Court has jurisdiction for two reasons. First, the Notice of

       Appeal filed on January 4, 2022, was in fact timely, as the November 3,

       2021, order was not the “final order” from which the appeal was taken

       pursuant to the rules for habeas and this Court’s local rules. Second, in

       the alternative, Cruzado’s motion for an extension of time to brief the

       question of appealability was the functional equivalent of a Notice of

       Appeal and thus satisfied Rules 3 and 4 of the Federal Rules of

       Appellate Procedure, giving this Court jurisdiction.

         A. The District Court’s initial order denying a writ of habeas
            corpus and providing thirty days to address appealability
            was not a “final order” in the context of a habeas
            proceeding because it did not comply with habeas rules or
            this Court’s local rules

            The District Court’s order on November 3, 2021, denying a writ of

       habeas corpus was not a “final order” from which Cruzado was required

       to file a notice of appeal. Although this Court has jurisdiction to review

       a district court’s “final order” in a habeas proceeding, 28 U.S.C.

       § 2253(a), there is no automatic right of appeal, 28 U.S.C. § 2253(c). To


                                           19
Case: 22-1027   Document: 00118013031   Page: 27   Date Filed: 05/22/2023   Entry ID: 6569846




       pursue an appeal to the court of appeals, a habeas petitioner must

       obtain a certificate of appealability. 28 U.S.C. § 2253(c).

            Rule 11(a) of the Rules Governing Section 2254 Cases [hereinafter

       “Habeas Rules”] requires a District Court to either “issue or deny a

       certificate of appealability when it enters a final order adverse to the

       applicant.” Id. (emphasis added). The First Circuit’s Local Rules

       likewise require a “district judge to rule on the issuance of a certificate

       of appealability when a final order issues.” 1st Cir. R. 22.0(a) (emphasis

       added). Only after a final order enters “under these rules”—that is,

       after a final order enters that includes a decision to issue or deny a

       certificate of appealability—must a habeas petitioner file a notice of

       appeal pursuant to Federal Rule of Appellate Procedure 4(a) . See

       Habeas Rules, Rule 11(b).

            Therefore, the District Court’s order on November 3, 2012, was

       not a “final order” as contemplated under the relevant habeas rules,

       because the District Court did not decide whether to issue a certificate

       of appealability.4 Instead, the Court gave its contingent view that it was


            4 A one-sentence “Order of Dismissal,” also issued on November 3,

       2021, by the Deputy Clerk, did not take into account this crucial nuance
       of the District Court’s order or the rules regarding habeas. (Add. 19).

                                            20
Case: 22-1027    Document: 00118013031   Page: 28   Date Filed: 05/22/2023   Entry ID: 6569846




       “not inclined to issue a certificate of appealability,” and set forth a

       briefing schedule on appealability. (Add. 17; App. 15, Dkt. No. 38.) Such

       action is explicitly contemplated by and consistent with the Habeas

       Rules, which note that “[b]efore entering the final order, the court may

       direct the parties to submit arguments on whether a certificate should

       issue.” Habeas Rules, Rule 11(a) (emphasis added). The District Court

       did just that here, inviting Cruzado to file a memorandum concerning a

       certificate of appealability. (Add. 17; App. 15, Dkt. No. 38.) Thus, the

       District Court issued its “final order—as that term is construed by the

       rules that apply to habeas—only on January 4, 2022, when it ruled on

       the question of a certificate of appealability. (App. 16, Dkt. No. 43.)

       Cruzado filed his notice of appeal that day, and his appeal is therefore

       timely.

         B. In the alternative, the motion for extension of time to brief
            appealability, filed within thirty days of the District
            Court’s order denying a writ of habeas corpus, was the
            functional equivalent of a notice of appeal

            Even if the District Court’s Order on November 3, 2021, denying a

       writ of habeas corpus, was the “final order” for purposes of 28 U.S.C.

       § 2253(c), Cruzado’s timely motion for additional time to submit a

       memorandum concerning a certificate of appealability is the functional

                                            21
Case: 22-1027   Document: 00118013031   Page: 29    Date Filed: 05/22/2023   Entry ID: 6569846




       equivalent of a notice of appeal. As such, it is sufficient to provide this

       Court jurisdiction.

            A party pursuing an appeal must file a notice of appeal specifying

       the party taking the appeal, the judgment from which the appeal is

       taken, and the court to which the appeal is taken. Fed. R. App. P. 3(c);

       Bowles v. Russell, 551 U.S. 205, 209 (2007) (filing of notice of appeal

       required for appellate court to have jurisdiction). The Supreme Court

       has instructed lower courts to “liberally construe the requirements of

       Rule 3.” Smith v. Barry, 502 U.S. 244, 248 (1992). “[W]hen papers are

       ‘technically at variance with the letter of [Rule 3], a court may

       nonetheless find that the litigant has complied with the rule if the

       litigant’s action is the functional equivalent of what the rule requires.’”

       Id. (quoting Torres v. Oakland Scavenger Co., 487 U. S. 312, 316-17

       (1988)). The requirement is simply meant “to ensure that the filing

       provides sufficient notice to other parties and the courts. Thus, the

       notice afforded by a document . . . determines the document’s sufficiency

       as a notice of appeal.” Smith, 502 U.S. at 248; see also Fed. R. App. P.

       3(c)(7) (“[a]n appeal must not be dismissed for informality of form or




                                            22
Case: 22-1027   Document: 00118013031    Page: 30   Date Filed: 05/22/2023   Entry ID: 6569846




       title of the notice of appeal, or for failure to name a party whose intent

       to appeal is otherwise clear from the notice”).

             This Court has also held that Rule 3’s requirement “may be

       satisfied by the filing of the ‘functional equivalent,’ so long as it gives

       the pertinent information and evinces an intention to appeal.” Campiti

       v. Matesanz, 333 F.3d 317, 320 (1st Cir. 2003).5 Applying this principle,

       several courts of appeals have concluded that a motion for extension of

       time to request a certificate of appealability is the functional equivalent

       of a notice of appeal. For instance, in Wells v. Ryker, 591 F.3d 562, 565

       (7th Cir. 2010), the Seventh Circuit concluded that the petitioner’s

       request—through counsel—for an extension of time to file a motion for a




             5 One older First Circuit case holds that a motion for extension of

       time to file a notice of appeal is not sufficient to give an appellate court
       jurisdiction. See Thomas v. Morton Int’l, Inc., 916 F.2d 39, 40 (1st Cir.
       1990) (per curiam). Thomas is distinguishable because it was not a
       habeas case, and because a request for more time to file the notice of
       appeal—a simple document for a party to prepare and file—itself casts
       doubt on a party’s intent to appeal in a way in which a request for more
       time to file a substantive memorandum in support of a certificate of
       appealability does not. Crucially, Thomas was also decided before the
       Supreme Court’s decision in Smith v. Barry, 502 U.S. 244, 248 (1992),
       which may have implicitly overruled it. See Campiti v. Matesanz, 333
       F.3d 317, 320 n.3 (1st Cir. 2003) (“We have no reason here to consider
       whether [Thomas’s] conclusion survives Smith”).

                                             23
Case: 22-1027   Document: 00118013031   Page: 31   Date Filed: 05/22/2023   Entry ID: 6569846




       certificate of appealability6 was sufficient to preserve the court’s

       jurisdiction. The notice specified the party taking the appeal and the

       order being appealed, and “while it did not specify the court to which

       the appeal is being taken,” the court concluded that “the intent to

       appeal to this court is obvious—the term ‘certificate of appealability’

       necessarily refers to an appeal to the relevant court of appeals.” Wells,

       591 F.3d at 565; see also United States v. Gooch, 842 F.3d 1274, 1277

       (2016) (request for extension of time to apply for certificate of

       appealability met jurisdictional requirements of Rule 3(c)); Clark v.

       Cartledge, 829 F.3d 303, 305 (4th Cir. 2016) (similar).

            Here, Cruzado’s motion for extension of time was the “functional

       equivalent” of a proper notice of appeal, because it supplied the

       “pertinent information” and showed “an intention to appeal.” See

       Campiti, 333 F.3d at 320. The name of the party taking the appeal, the



            6 The Wells petitioner filed a motion for an extension of time to file

       either a motion for a certificate of appealability or a motion for
       reconsideration. The Seventh Circuit specifically noted that in
       concluding that the motion was sufficient to preserve jurisdiction, the
       court was not relying on the motion for an extension of time to file a
       motion for reconsideration, because an extension of time for a motion
       under Fed. R. Civ. P. 59(e) is barred by Fed. R. Civ. P. 6(b)(2). Wells,
       591 F.3d at 564.


                                            24
Case: 22-1027   Document: 00118013031   Page: 32   Date Filed: 05/22/2023   Entry ID: 6569846




       Petitioner-Appellant, was included in the caption of the motion in the

       standard form for any motion filed. (App. 105.). The order being

       appealed from was made clear by including the District Court docket

       number on the motion. (Id.) Only one substantive decision had been

       made by the Court in the case, namely the denial of the habeas petition;

       the motion for extension of time was the next filing on the docket after

       this denial and a companion order dismissing the case. (App. 15; Add. 7-

       19.) There was, in other words, nothing to appeal from other than the

       District Court’s November 3 order, which specifically granted Cruzado

       time to brief the issue of appealability. See O’Brien v. Town of

       Bellingham, 943 F.3d 514, 526 (1st Cir. 2019) (in considering sufficiency

       of Notice of Appeal, court considers “the appellant’s intent on the record

       as a whole”). Although the motion does not explicitly name the court to

       which the appeal was taken, “failures to meet this requirement are

       excused where there is only one court to which the appeal can be taken,

       which is the case here.” Gooch, 842 F.3d at 1277 (citing Anderson v.

       District of Columbia, 72 F.3d 166, 168-69 (D.C. Cir. 1995)). Finally,

       Cruzado’s overall intent to appeal is clear: after all, “[t]here would be

       little reason for [him] to request an extension of time to properly file a


                                            25
Case: 22-1027   Document: 00118013031   Page: 33   Date Filed: 05/22/2023    Entry ID: 6569846




       certificate of appealability if he did not intend to appeal.” Clark, 829

       F.3d at 306.

            In past cases, this Court has accorded the highest level of

       flexibility in complying with Rule 3 to pro se litigants. See United States

       v. Rodriguez-Rosado, 854 F.3d 122, 125 (1st Cir. 2017) (holding that

       letter requesting appointment of counsel was functional equivalent of

       notice of appeal under “liberal construction of Rule 3 that we afford pro

       se litigants”). Here Cruzado is incarcerated for life, and his habeas

       petition was originally filed pro se. Although Cruzado had been

       appointed counsel by the time the motion for an extension of time was

       filed, this should not deprive him of the benefit of a liberal construction

       of Rule 3. See Wells, 591 F.3d at 564 (petitioner filed motion for

       extension of time through appointed counsel); Ortberg v. Moody, 961

       F.2d 135, 137 (9th Cir. 1992) (rule that request for certificate of

       probable cause, predecessor to certificate of appealability, is equivalent

       to notice of appeal was originally articulated in case involving pro se

       petitioners, but “is equally applicable to petitioners proceeding through

       counsel”). As such, this Court should conclude that the motion for an

       extension of time to submit a memorandum concerning a certificate of



                                            26
Case: 22-1027    Document: 00118013031   Page: 34   Date Filed: 05/22/2023   Entry ID: 6569846




       appealability was the functional equivalent of a notice of appeal for the

       purpose of establishing jurisdiction.

         II.     The Writ of Habeas Corpus Should Issue

               This Court should issue the writ of habeas corpus for Cruzado

       because the admission of the unredacted recording in which he used the

       n-word rendered his trial fundamentally unfair, thus violating his right

       to due process of law under the United States Constitution. His petition

       moreover meets the standards for habeas relief set out in AEDPA,

       because the state court’s analysis was an unreasonable application of

       clearly-established federal law. See 28 U.S.C. § 2254.

               The admission of the unredacted video violated basic principles of

       both state and federal evidentiary law that limit the use of character

       evidence and evidence the probative value of which is substantially

       outweighed by the potential for unfair prejudice. These evidentiary

       principles reflect underlying, clearly-established guarantees that

       criminal defendants should receive fair trials and due process of law.

       Cruzado presented this argument to the SJC, but the court affirmed his

       conviction, disposing of the due process argument in a single, patently

       unreasonable footnote. The unusually close state of the evidence in the


                                            27
Case: 22-1027   Document: 00118013031   Page: 35   Date Filed: 05/22/2023   Entry ID: 6569846




       case moreover suggests that the admission of the recording containing

       inflammatory racial language likely had “a substantial and injurious

       effect or influence on the jury’s verdict.” See Brecht v. Abrahamson, 507

       U.S. 619, 637 (1993). The writ should issue.

         A. Standard of review

            AEDPA permits federal courts to grant habeas relief to petitioners

       who have exhausted available state proceedings and received a state

       court decision on the merits that “was contrary to, or involved an

       unreasonable application of, clearly established Federal law, as

       determined by the Supreme Court of the United States.” 28 U.S.C.

       § 2254(b)-(d). Where AEDPA’s standard is met, this Court must grant

       habeas relief if a preserved constitutional error had a “substantial and

       injurious effect or influence in determining the jury’s verdict.” Barbosa

       v. Mitchell, 812 F.3d 62, 68 (1st Cir. 2016) (quoting Brecht, 507 U.S. at

       637.). The burden of establishing harmlessness under this standard is

       on the state, and “[i]f the habeas court entertains ‘grave doubt as to

       harmlessness, the petitioner must win.’” Foxworth v. St. Amand, 570

       F.3d 414, 436 (1st Cir. 2009) (quoting O’Neal v. McAninch, 513 U.S.

       432, 437 (1995)).



                                           28
Case: 22-1027   Document: 00118013031   Page: 36   Date Filed: 05/22/2023   Entry ID: 6569846




            Although AEDPA’s requirements encourage deference to state

       court decisions, this “deference does not imply abandonment or

       abdication of judicial review.” Miller-El v. Cockrell, 537 U.S. 322, 340

       (2003). “There is no need for there to be a Supreme Court case on all

       fours for a state decision to be unreasonable” for purposes of AEDPA.

       Evans v. Thompson, 518 F.3d 1, 7 (1st Cir. 2008) (citing White v.

       Coplan, 399 F.3d 18, 25 (1st Cir. 2005)). Rather, it suffices “‘if the

       Supreme Court’s general principles can be discerned and if, respectfully

       but with confidence,’ the federal court concludes that the state court

       unreasonably applied federal law.” Id.; see Williams v. Taylor, 529 U.S.

       362, 407 (2000) (AEDPA’s “unreasonable application” prong applies

       where state court “unreasonably refuses to extend [a principle from

       Supreme Court precedent] to a new context where it should apply”).

            Finally, this Court owes no deference to the District Court’s denial

       of Cruzado’s petition. “Where the district court in a federal habeas case

       does not undertake independent factfinding, as was the case here,” this

       Court must “review the district court’s entire decision, including its

       application of the AEDPA standard, de novo.” Rivera v. Thompson, 879

       F.3d 7, 13 (1st Cir. 2018).


                                            29
Case: 22-1027   Document: 00118013031   Page: 37   Date Filed: 05/22/2023   Entry ID: 6569846




         B. Cruzado has exhausted his state court remedies

            Cruzado has fulfilled AEDPA’s requirement that he first

       “exhaust[] the remedies available in the courts of the State” before

       seeking federal habeas. See 28 U.S.C. § 2254(b)(1)(A). The admission of

       the unredacted recording of his interrogation was a central issue in his

       direct appeal to the SJC, the highest court of Massachusetts. See

       Cruzado, 480 Mass. at 277-79, 103 N.E.3d at 736-738. The SJC

       primarily addressed the issue under the state’s common law of

       evidence. Id. But Cruzado also presented his constitutional argument,

       which the SJC rejected in a one-sentence footnote alluding to Cruzado’s

       “due process rights.” Id. at 279 n.2. As such, Cruzado exhausted his due

       process claims before the SJC. See Fortini v. Murphy, 257 F.3d 39, 44

       (1st Cir. 2001) (exhaustion requires petitioner to “make it probable that

       a reasonable jurist would have been alerted to the existence of the

       federal question”).

         C. Admitting the unredacted recording in which Cruzado
            repeatedly used a racial epithet violated due process and
            rendered Cruzado’s trial fundamentally unfair

            Habeas relief is warranted in this case because the admission of

       the unredacted recording resulted in a trial that was fundamentally



                                           30
Case: 22-1027   Document: 00118013031   Page: 38   Date Filed: 05/22/2023   Entry ID: 6569846




       unfair, in violation of Cruzado’s constitutional right to due process of

       law. The portion of the unredacted recording in which Cruzado used the

       n-word constituted inadmissible character evidence that was both

       highly prejudicial to Cruzado and of minimal probative value. The SJC’s

       approval of its admission was therefore an unreasonable application of

       clearly-established due process law.

            1. Serious evidentiary errors can warrant habeas relief.

            A “misbegotten evidentiary ruling that results in a fundamentally

       unfair trial may violate due process and, thus, ground federal habeas

       relief.” Coningford v. Rhode Island, 640 F.3d 478, 484 (1st Cir. 2011). If

       the state evidentiary error “so infuse[s] the trial with inflammatory

       prejudice that it renders a fair trial impossible,” constitutional error has

       occurred. Gomes v. Silva, 958 F.3d 12, 24 (1st Cir. 2020) (quoting Lyons

       v. Brady, 666 F.3d 51, 56 (1st Cir. 2012)). See Payne v. Tennessee, 501

       U.S. 808, 825 (1991) (when “evidence is introduced that is so unduly

       prejudicial that it renders the trial fundamentally unfair,” Due Process

       Clause provides relief).

            Here, the state trial court judge admitted the recording under a

       principle of state evidentiary law analogous to that codified in Fed. R.


                                            31
Case: 22-1027   Document: 00118013031    Page: 39   Date Filed: 05/22/2023   Entry ID: 6569846




       Evid. 404(b) (evidence of “other crime, wrong, or act” not admissible as

       propensity evidence, but may be admissible to prove motive). See Mass.

       Guide to Evid. § 404(b). The admission of any evidence is also always

       subject to the general balancing test found in Rule 403 of the Federal

       Rules of Evidence (relevant evidence may be excluded if probative value

       is substantially outweighed by danger of unfair prejudice). See Mass.

       Guide to Evid. § 403. Although errors of state law, including

       misapplication of evidentiary rules, are “not enough to warrant federal

       habeas relief,” they still may be considered as “part and parcel of the

       overarching constitutional claim” brought by a habeas petitioner.

       Coningford, 640 F.3d at 484 n.4.

             The principles embodied in Rules 403 and 404 and their state

       analogues are grounded in fundamental due process principles. In

       particular, “the use of ‘other acts’ evidence as character evidence . . . is

       contrary to firmly established principles of Anglo-American

       jurisprudence.” McKinney v. Rees, 993 F.2d 1378, 1380 (9th Cir. 1993).

       The balancing test in Rule 403, moreover, has been recognized as a

       crucial safeguard to prevent the admission of unfairly prejudicial

       evidence under Rule 404(b). Huddleston v. United States, 485 U.S. 681,



                                             32
Case: 22-1027   Document: 00118013031     Page: 40   Date Filed: 05/22/2023   Entry ID: 6569846




       691 (1988); see United States v. Wells, 879 F.3d 900, 930 (9th Cir. 2018)

       (holding that “district court’s erroneous admissions and failure to

       engage in Rule 403 balancing so infected the trial with unfairness as to

       make the resulting conviction a denial of due process”) (citations and

       internal quotations omitted). Disregard of these rules may thus create

       “fundamental unfairness” that amounts to a denial of due process. Such

       was the case at Cruzado’s trial.

            2. The Supreme Judicial Court’s decision was an
               unreasonable application of due process principles.

            The SJC unreasonably applied clearly-established federal law

       when it rejected Cruzado’s due process argument. The SJC dismissed

       the argument in a single sentence in a footnote: Cruzado’s “argument

       that the admission of the word ‘nigger’ as evidence of racial animus

       violated his due process rights is unavailing, as the word came from his

       own mouth several times.” Cruzado, at 279 n.2, 738 n.2. The SJC cited

       no authority for the premise that admission of a defendant’s statements

       cannot ground a due process claim—nor could it have, as this is

       emphatically not the law.

            Admission of a defendant’s statements violates due process under

       any number of circumstances: for instance, if they are involuntary, see

                                             33
Case: 22-1027   Document: 00118013031   Page: 41   Date Filed: 05/22/2023   Entry ID: 6569846




       United States v. Lawrence, 889 F.2d 1187, 1189 (1st Cir. 1989), or if

       they are made by an individual in custody in violation of Miranda v.

       Arizona, 384 U.S. 436 (1966). Due process concerns are not magically

       eliminated simply because a word comes from the defendant’s own

       mouth. Where, as here, a state court’s conclusion is so arbitrary and ill-

       founded, the writ of habeas corpus must issue. See Rivera v. Thompson,

       879 F.3d 7, 16 (1st Cir. 2018) (granting habeas where “no fair-minded

       jurist could disagree that the Massachusetts Appeals Court’s holding

       was contrary to governing Supreme Court law”).

            3. The recording was unfairly prejudicial to Cruzado.

            The SJC’s decision also failed to analyze the degree of unfair

       prejudice that Cruzado suffered from the admission of the unredacted

       recording. The n-word, which Cruzado repeatedly used, has been called

       “the most noxious racial epithet in the contemporary American lexicon.”

       Monteiro v. Tempe Union High Sch. Dist., 158 F.3d 1022, 1034 (9th Cir.

       1998). Admitting the portion of the recording in which the n-word was

       heard was likely not only to personally offend Black jurors, but also to

       powerfully call into question for all jurors Cruzado’s moral character.

       See United States v. Gamory, 635 F.3d 480, 493 (11th Cir. 2011)



                                           34
Case: 22-1027   Document: 00118013031   Page: 42   Date Filed: 05/22/2023   Entry ID: 6569846




       (excluding as unfairly prejudicial rap video where lyrics “contained

       violence, profanity, sex, promiscuity, and misogyny”).

            Moreover, as defense counsel pointed out to the trial judge, there

       was no other evidence of a racial motive for Allen’s murder, nor any

       other suggestion of racial animus on the part of Cruzado. Admitting the

       unredacted interrogation thus added a racial dimension to a case where

       previously there was none. “[C]ourts must not tolerate prosecutors’

       efforts gratuitously to inject issues like race and ethnicity into criminal

       trials.” United States v. Saccoccia, 58 F.3d 754, 774 (1st Cir. 1995)

       (noting that doing so “may pose issues of constitutional dimension”).

            In its decision, the SJC did not comment on the uniquely offensive

       connotations of the n-word or the degree of prejudice that Cruzado was

       likely to suffer from the jury hearing him use this word. Instead, the

       court relied entirely on the judge’s individual voir dire to “mitigate the

       prejudicial effect of the racial slur.” Cruzado, 480 Mass. at 279, 103

       N.E.3d at 738.

            In concluding that the voir dire mitigated any potential prejudice,

       the SJC did not scrutinize the actual question the jury heard. The

       question about the n-word was tucked inside a longer query: “The


                                            35
Case: 22-1027   Document: 00118013031   Page: 43   Date Filed: 05/22/2023   Entry ID: 6569846




       defendant is Hispanic, the alleged victim was African-American. You

       will also hear evidence that the defendant allegedly referred to the

       alleged victim as a nigger. Do you have any feelings based on race that

       might affect your ability to be fair and impartial?” (T1:50-51; cf. Add.

       47, T1:28.) The question conflated two distinct and important issues:

       whether potential jurors harbored prejudices for or against the minority

       groups to which Cruzado and Allen belonged, and whether they were

       especially sensitive to racist language, such that hearing Cruzado use

       the n-word repeatedly might affect their ability to be impartial.

            The inadequacy of the voir dire question wording, which ended by

       asking jurors whether they had “feelings based on race,” is highlighted

       by the fact that in a few instances the judge spontaneously reframed the

       question when a potential juror’s response underscored its ambiguity.

       For example, in response to one juror who responded to the standard

       question by saying that she “d[idn’t] really like that terminology,” the

       judge responded: “I don’t think anybody does. The question is whether

       hearing [the n-word] would cause you to question your ability to be fair

       and impartial.” (T1:245.) Such reframing was rare, however. The

       standard wording did not ask jurors whether hearing the n-word would



                                           36
Case: 22-1027   Document: 00118013031   Page: 44   Date Filed: 05/22/2023   Entry ID: 6569846




       affect their impartiality, instead burying the issue under the larger

       question of racial prejudice and whether the jurors had “feelings based

       on race.”

            This flawed voir dire question was the only attempt to mitigate

       unfair prejudice to Cruzado from the admission of the recording.7

       Although the judge gave a limiting instruction after the recording was

       played, it addressed the other redactions to the recording only and did

       not reference Cruzado’s use of the n-word. (T5:62-63.) Nor was the use

       of the n-word ever addressed in the judge’s instructions to the jury

       before they began deliberations. The SJC merely noted that such an

       instruction was not requested and that a judge is not required to give

       such an instruction sua sponte. Cruzado, 480 Mass. at 279, 103 N.E.3d

       at 738. This Court, by contrast, has stressed the importance of a

       “careful limiting instruction” in cases where potentially prejudicial

       evidence is admitted under Rule 404(b). United States v. Smith, 292

       F.3d 90, 100 (1st Cir. 2002). See United States v. Gonyer, 761 F.3d 157,


            7 Given the problems with the voir dire question, posing this

       question concerning the n-word to every juror at the beginning of trial
       may have compounded the prejudice caused by admitting the
       underlying evidence, because the voir dire question effectively primed
       jurors to pay particular attention to this evidence.

                                           37
Case: 22-1027   Document: 00118013031   Page: 45   Date Filed: 05/22/2023   Entry ID: 6569846




       164 (1st Cir. 2014) (trial court’s Rule 403 balancing more likely to stand

       when “limiting instructions were deftly and timely deployed”). The

       absence of any instruction here compounded the fundamental

       unfairness to Cruzado stemming from the admission of the challenged

       portion of the recording.

            4. The unfairly prejudicial portion of the recording had
               minimal probative value.

            The SJC not only failed to consider the extent of the unfair

       prejudice Cruzado faced from the admission of the unredacted recording

       but also exaggerated the recording’s probative value. “The

       Commonwealth offered the evidence to show the defendant’s animus

       toward African-Americans, and thus as a partial motive for the killing.”

       Cruzado, 480 Mass. at 279, 103 N.E.3d at 737. But the prosecution

       already had evidence of an entirely different potential motive, namely

       revulsion at a homosexual advance and homophobic prejudice more

       generally. (T3:271-73.) And the defense had not raised any specific

       argument to which the challenged portion of the recording was

       responsive. Cf. United States v. Pena, 24 F.4th 46, 64-66 (1st Cir. 2022)

       (approving of admission of video showing defendants “us[ing] racial and

       misogynistic epithets while discussing crimes unrelated to [the] case”


                                           38
Case: 22-1027   Document: 00118013031   Page: 46   Date Filed: 05/22/2023   Entry ID: 6569846




       because relevant to refuting “mere presence” defense that counsel for

       the defendant put before the jury in closing argument, as well as other

       potential defenses).

            The unreasonableness of the SJC’s assessment here—to the point

       of violating due process—is apparent from its misapplication of state

       law on these very points. In considering the admission of the recording,

       the court relied primarily on Commonwealth v. Bishop, 461 Mass. 586,

       963 N.E.2d 88 (2012), in which a white defendant shot and killed a

       Black man in the aftermath of a minor road-rage incident. At trial, the

       judge allowed the admission of his statement “Watch out, I'm in here for

       shooting a nigger” to a fellow prisoner in jail. 461 Mass. at 596, 963

       N.E.2d at 96. The SJC there recognized the unique risk of “inflaming a

       jury’s emotions” with the word, but nonetheless approved of the

       statement’s admission given that it was specifically probative of both

       criminal responsibility, which the defendant had placed in issue, and

       motive, which was otherwise “unclear.” 461 Mass. at 597, 963 N.E.2d at

       97. In analogizing to Bishop in Cruzado’s case, the SJC disregarded the

       fact that there was already an obvious motive and there was no defense

       to which racial animus would have been germane. Without any


                                           39
Case: 22-1027   Document: 00118013031   Page: 47   Date Filed: 05/22/2023   Entry ID: 6569846




       problematic gap in the government’s theory of the case, intimations of

       racism served only to inflame the jury.

            The underlying trial court decision to admit the evidence likewise

       relied on a flawed analysis. The trial court concluded that the evidence

       was probative of motive based on its assessment that Cruzado “is I

       think going to allege that he was the victim of a homosexual advance by

       a man he calls a nigger,” and that as such, the recording was probative

       of motive. (T1:27-28.) But Cruzado maintained his innocence and never

       suggested that he committed a “justifiable” homicide. Thus, the

       evidence was never even probative in the sense for which it was

       originally admitted.

            The probative value of the evidence is further cast into doubt

       when Cruzado’s specific socioethnic background is taken into account.

       Although the n-word is usually highly offensive, the sociology of its use

       is complex. See generally Randall Kennedy, Who Can Say ‘Nigger’? . . .

       And Other Considerations, 26 Journal of Blacks in Higher Education 86

       (2000). In particular, the word is not always perceived as offensive

       when used among Black Americans. Id. at 90 (noting n-word’s

       “continued usage…by large numbers of black Americans”). The n-word



                                           40
Case: 22-1027   Document: 00118013031   Page: 48   Date Filed: 05/22/2023   Entry ID: 6569846




       simply “has a different connotation when used intra-racially among

       Blacks than when directed at Blacks by Whites.” See Gregory S. Parks

       & Shayne E. Jones, Nigger: A Critical Race Realist Analysis of the N-

       Word within Hate Crimes Law, 98 J. Crim. L. & Criminology 1305, 1306

       (2007-2008) (noting “high rates of Black usage of the N-word” but

       arguing that hate crimes laws should not be applied to Black

       defendants based on their use of the word).

            As a Hispanic-American (T1:6), of Puerto Rican ancestry, with

       mixed-race children and grandchildren, Cruzado participates in this

       complex linguistic situation. See Gary Suarez, When Latinx People Use

       the N-Word, N.Y. Times, Oct. 17, 2019 (noting “comfort many Latinx

       people have with saying the N-word and the right they claim to have in

       using it” and “complicated dynamic between two marginalized groups”).

       Cruzado’s use of the n-word is additionally complicated by the fact that

       his native language is Spanish. The n-word in English is in fact

       ultimately derived from the Spanish word for the color black, negro.8

       Kennedy, at 86. The proximity of the English term to an ordinary and



            8 Indeed, this Spanish word, Negro, was Cruzado’s childhood

       nickname.

                                           41
Case: 22-1027   Document: 00118013031   Page: 49   Date Filed: 05/22/2023   Entry ID: 6569846




       non-offensive word in Cruzado’s native tongue likewise suggests that

       his use of the n-word was not probative of racial animus.

            In any event, it would have been straightforward to play for the

       jury only the first three-quarters of the recording, in which Cruzado

       admitted that he had been in Chelsea on November 24 and had

       encountered Hernandez on the street. This was not a case where

       redaction would have been impractical. Cf. United States v. Price, 13

       F.3d 711, 720-21 (3d Cir. 1994) (holding recorded conversations

       including racial epithet admissible because they “would have been

       virtually impossible to redact . . . without altering their substance”).

       The recording played for the jury was redacted at other points and was

       cut off entirely soon after the exchange involving the n-word, at the

       point when Cruzado invoked his 5th Amendment rights by stating that

       he didn’t want to talk. (T5:57-58, T-MTS1:53.)

            Given that the unredacted interrogation evidence lacked probative

       value and had an extremely high potential to cause unfair prejudice, the

       court’s decision to admit the unredacted recording constituted an

       “unreasonable application of the . . . fair-trial principle” and did not

       comport with constitutional due process. Coningford, 640 F.3d at 485.



                                            42
Case: 22-1027   Document: 00118013031   Page: 50   Date Filed: 05/22/2023   Entry ID: 6569846




         D. Admitting the recording had a substantial and injurious
            effect or influence in determining on the jury’s verdict

            Cruzado is entitled to habeas relief because there is at least “grave

       doubt” that the admission of the unredacted recording had a

       “substantial and injurious effect or influence” on the jury’s verdict.

       Foxworth, 570 F.3d at 436 (quoting Brecht, 507 U.S., at 633-34). The

       prejudice to Cruzado from the admission must be assessed in the

       context of the trial as a whole, as an error “that may seem insignificant

       where the evidence is overwhelming can assume a very different aspect

       in a close case.” See United States v. Hardy, 37 F.3d 753, 759 (1st Cir.

       1994) (improper comment by prosecutor deprived defendant of fair

       trial). Not only was the evidence here close, but there was no other

       evidence of a racial motive. Without the unredacted recording, race

       would not have entered the trial at all; with the recording, racial

       animus became the centerpiece of the Commonwealth’s case.

            The evidence against Cruzado apart from the recording was

       anything but overwhelming. Despite allegations that Cruzado had

       spent extensive time in Allen’s apartment—Hernandez maintained that

       Cruzado drank alcohol and used drugs in one bedroom, showered, used

       the telephone, and presumably handled the belt and vase that caused

                                            43
Case: 22-1027   Document: 00118013031   Page: 51   Date Filed: 05/22/2023   Entry ID: 6569846




       Allen’s death—extensive investigation and testing yielded no forensic

       evidence that Cruzado had even been present in the dwelling, let alone

       fought with or killed Allen. (T6:27-28.) The Commonwealth gathered

       potential DNA evidence from a number of sources in the apartment,

       and the results of such testing consistently excluded Cruzado as a

       source of evidence. (T4:202.) The Commonwealth likewise tested

       Cruzado’s pants for Allen’s blood and found that the pants included only

       Cruzado’s own blood. (T4:143, 196; T5:49-51.) A footprint on broken

       glass from the door was also analyzed and Cruzado was excluded as a

       match. (T6:28.)

            Cruzado’s own admission that he had encountered Hernandez on

       the street in Chelsea on November 24 was entirely compatible with—

       and indeed, supported—the defense theory that Hernandez fabricated

       Cruzado’s involvement in order to deflect blame from himself. The

       police investigation initially focused on Hernandez, who after lying to

       police about his relationship to the victim deflected attention from

       himself by implicating Cruzado. (T5:105-06.) The police did not even

       credit this account enough to pursue it, until Hernandez returned and

       told them about the astonishing coincidence of Cruzado offering two



                                           44
Case: 22-1027   Document: 00118013031   Page: 52   Date Filed: 05/22/2023   Entry ID: 6569846




       unsolicited confessions to the killing, once directly to Hernandez and

       once within his hearing. (T5:35; T3:141-42, 150-53.) The only external

       corroboration of Hernandez’s self-interested allegations was the

       testimony from Matiaz and the calls placed to her from the victim’s

       home on the day of the killing (although Matiaz was never asked about

       the content of those calls). (T3:269-73, T5:95-99.) With respect to both,

       the defense put forward a plausible alternative explanation that did not

       implicate Cruzado. (T6:38-40.)

            The Commonwealth cannot meet its burden to establish the

       harmlessness of this error. “At the trial-court level, this case was close.

       In close cases, there is often a tipping point.” See Foxworth, 570 F.3d at

       436 (1st Cir. 2009) (admission of co-defendant’s statement likely had

       substantial and injurious influence on the outcome). The

       Commonwealth viewed this evidence as important: it moved in limine

       to admit the exchange and the prosecutor referred to it in the climax of

       both her opening statement and closing argument. (T1:24, T2:76,

       T6:60.) Admitting the unredacted recording containing the word thus

       could have “tipped the balance.” See id.; Hawkins v. United States, 358

       U.S. 74, 80 (1958) (reversing conviction where erroneous admission of


                                            45
Case: 22-1027   Document: 00118013031    Page: 53   Date Filed: 05/22/2023   Entry ID: 6569846




       spousal testimony could have “tip[ped] the scales against petitioner on

       the close and vital issue” of intent). Because there is at least “grave

       doubt” as to whether the admission had a “substantial and injurious

       effect or influence” on the jury’s verdict, Cruzado is entitled to habeas

       relief. Foxworth, 570 F.3d at 436.

                                        Conclusion

            For the foregoing reasons, Petitioner-Appellant Cruzado requests

       that this Court grant him the writ of habeas corpus.


                                    Respectfully submitted,

                                    /s/ Emma Quinn-Judge
                                    Emma Quinn-Judge (1st Cir. #1138229)
                                    Thomas Miller (1st Cir. #1207777)
                                    Zalkind Duncan & Bernstein LLP
                                    65a Atlantic Ave
                                    Boston, MA 02110
                                    (617) 742-6020
                                    equinn-judge@zalkindlaw.com
                                    tmiller@zalkindlaw.com

       Date: May 22, 2023




                                            46
Case: 22-1027   Document: 00118013031   Page: 54   Date Filed: 05/22/2023   Entry ID: 6569846




                             Certificate of Compliance

             This document complies with the word limit of Fed. R. App. P.
       32(a)(7)(B), because, excluding the parts of the document exempted by
       Fed. R. App. P. 32(f), this document contains 9,364 words. This
       document complies with the typeface requirements of Fed. R. App. P.
       32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6)
       because this document has been prepared in a proportionally-spaced
       typeface using Microsoft Word in 14-point Century Schoolbook font.

       /s/ Emma Quinn-Judge
       Attorney for Mario Cruzado
       Dated: May 22, 2023




                                           47
Case: 22-1027      Document: 00118013031              Page: 55       Date Filed: 05/22/2023           Entry ID: 6569846




                                       Addendum Table of Contents

       28 U.S.C § 2253 ......................................................................................... 1
       28 U.S.C § 2254 ......................................................................................... 2
       Rules Governing § 2254 Cases, Rule 11 ................................................... 5
       District Court Memorandum and Order Denying Petition ...................... 7
       District Court Order of Dismissal ........................................................... 19
       District Court Order Granting Certificate of Appealability................... 20
       SJC Decision ............................................................................................ 21
       Interview Excerpt .................................................................................... 38
       Transcript Vol. 1 Excerpt ........................................................................ 42
       Transcript Vol. 2 Excerpt ........................................................................ 48
       Transcript Vol. 6 Excerpt ........................................................................ 50
Case: 22-1027   Document: 00118013031    Page: 56   Date Filed: 05/22/2023   Entry ID: 6569846




                               28 U.S.C. § 2253. Appeal

       (a) In a habeas corpus proceeding or a proceeding under section
       2255 before a district judge, the final order shall be subject to review, on
       appeal, by the court of appeals for the circuit in which the proceeding is
       held.

       (b) There shall be no right of appeal from a final order in a proceeding to
       test the validity of a warrant to remove to another district or place for
       commitment or trial a person charged with a criminal offense against
       the United States, or to test the validity of such person's detention
       pending removal proceedings.

       (c)
             (1) Unless a circuit justice or judge issues a certificate of
             appealability, an appeal may not be taken to the court of appeals
             from—

                  (A) the final order in a habeas corpus proceeding in which
                  the detention complained of arises out of process issued by a
                  State court; or

                  (B) the final order in a proceeding under section 2255.

             (2) A certificate of appealability may issue under paragraph (1)
             only if the applicant has made a substantial showing of the denial
             of a constitutional right.

             (3) The certificate of appealability under paragraph (1) shall
             indicate which specific issue or issues satisfy the showing required
             by paragraph (2).




                                        Add. 1
Case: 22-1027    Document: 00118013031    Page: 57   Date Filed: 05/22/2023   Entry ID: 6569846




             28 U.S.C. § 2254. State custody; remedies in Federal courts

       (a) The Supreme Court, a Justice thereof, a circuit judge, or a district
       court shall entertain an application for a writ of habeas corpus in behalf
       of a person in custody pursuant to the judgment of a State court only on
       the ground that he is in custody in violation of the Constitution or laws
       or treaties of the United States.

       (b)
              (1) An application for a writ of habeas corpus on behalf of a person
              in custody pursuant to the judgment of a State court shall not be
              granted unless it appears that—

                   (A) the applicant has exhausted the remedies available in
                   the courts of the State; or

                   (B)
                         (i) there is an absence of available State corrective
                         process; or

                         (ii) circumstances exist that render such process
                         ineffective to protect the rights of the applicant.

              (2) An application for a writ of habeas corpus may be denied on
              the merits, notwithstanding the failure of the applicant to exhaust
              the remedies available in the courts of the State.

              (3) A State shall not be deemed to have waived the exhaustion
              requirement or be estopped from reliance upon the requirement
              unless the State, through counsel, expressly waives the
              requirement.

       (c) An applicant shall not be deemed to have exhausted the remedies
       available in the courts of the State, within the meaning of this section,
       if he has the right under the law of the State to raise, by any available
       procedure, the question presented.




                                         Add. 2
Case: 22-1027   Document: 00118013031    Page: 58   Date Filed: 05/22/2023   Entry ID: 6569846




       (d) An application for a writ of habeas corpus on behalf of a person in
       custody pursuant to the judgment of a State court shall not be granted
       with respect to any claim that was adjudicated on the merits in State
       court proceedings unless the adjudication of the claim—

             (1) resulted in a decision that was contrary to, or involved an
             unreasonable application of, clearly established Federal law, as
             determined by the Supreme Court of the United States; or

             (2) resulted in a decision that was based on an unreasonable
             determination of the facts in light of the evidence presented in the
             State court proceeding.

       (e)
             (1) In a proceeding instituted by an application for a writ of
             habeas corpus by a person in custody pursuant to the judgment of
             a State court, a determination of a factual issue made by a State
             court shall be presumed to be correct. The applicant shall have the
             burden of rebutting the presumption of correctness by clear and
             convincing evidence.

             (2) If the applicant has failed to develop the factual basis of a
             claim in State court proceedings, the court shall not hold an
             evidentiary hearing on the claim unless the applicant shows
             that—

                  (A) the claim relies on—

                        (i) a new rule of constitutional law, made retroactive to
                        cases on collateral review by the Supreme Court, that
                        was previously unavailable; or

                        (ii) a factual predicate that could not have been
                        previously discovered through the exercise of due
                        diligence; and

                  (B) the facts underlying the claim would be sufficient to
                  establish by clear and convincing evidence that but for




                                        Add. 3
Case: 22-1027   Document: 00118013031    Page: 59   Date Filed: 05/22/2023   Entry ID: 6569846




                  constitutional error, no reasonable factfinder would have
                  found the applicant guilty of the underlying offense.

       (f) If the applicant challenges the sufficiency of the evidence adduced in
       such State court proceeding to support the State court's determination
       of a factual issue made therein, the applicant, if able, shall produce that
       part of the record pertinent to a determination of the sufficiency of the
       evidence to support such determination. If the applicant, because of
       indigency or other reason is unable to produce such part of the record,
       then the State shall produce such part of the record and the Federal
       court shall direct the State to do so by order directed to an appropriate
       State official. If the State cannot provide such pertinent part of the
       record, then the court shall determine under the existing facts and
       circumstances what weight shall be given to the State court's factual
       determination.

       (g) A copy of the official records of the State court, duly certified by the
       clerk of such court to be a true and correct copy of a finding, judicial
       opinion, or other reliable written indicia showing such a factual
       determination by the State court shall be admissible in the Federal
       court proceeding.

       (h) Except as provided in section 408 of the Controlled Substances Act,
       in all proceedings brought under this section, and any subsequent
       proceedings on review, the court may appoint counsel for an applicant
       who is or becomes financially unable to afford counsel, except as
       provided by a rule promulgated by the Supreme Court pursuant to
       statutory authority. Appointment of counsel under this section shall be
       governed by section 3006A of title 18.

       (i) The ineffectiveness or incompetence of counsel during Federal or
       State collateral post-conviction proceedings shall not be a ground for
       relief in a proceeding arising under section 2254.




                                        Add. 4
Case: 22-1027   Document: 00118013031        Page: 60       Date Filed: 05/22/2023       Entry ID: 6569846




                   12   RULES GOVERNING SECTION 2254 AND 2255 CASES

                  1     of appeals authorizing the district court to consider the

                  2     petition as required by 28 U.S.C. § 2244(b)(3) and (4).

                        Rule 10. Powers of a Magistrate Judge

                  1          A magistrate judge may perform the duties of a

                  2     district judge under these rules, as authorized under 28

                  3     U.S.C. § 636.

                        Rule 11. Certificate of Appealability; Time to Appeal

                  1          (a) Certificate of Appealability. The district court

                  2     must issue or deny a certificate of appealability when it

                  3     enters a final order adverse to the applicant. Before

                  4     entering the final order, the court may direct the parties to

                  5     submit arguments on whether a certificate should issue. If

                  6     the court issues a certificate, the court must state the

                  7     specific issue or issues that satisfy the showing required by

                  8     28 U.S.C. § 2253(c)(2). If the court denies a certificate, the

                  9     parties may not appeal the denial but may seek a certificate

                 10     from the court of appeals under Federal Rule of Appellate




                                           Add. 5
Case: 22-1027   Document: 00118013031         Page: 61       Date Filed: 05/22/2023         Entry ID: 6569846




                      RULES GOVERNING SECTION 2254 AND 2255 CASES                    13

                  1     Procedure 22. A motion to reconsider a denial does not

                  2     extend the time to appeal.

                  3          (b) Time to Appeal. Federal Rule of Appellate

                  4     Procedure 4(a) governs the time to appeal an order entered

                  5     under these rules. A timely notice of appeal must be filed

                  6     even if the district court issues a certificate of appealability.

                        Rule 12. Applicability of the Federal Rules of Civil
                        Procedure

                  1          The Federal Rules of Civil Procedure, to the extent

                  2     that they are    not inconsistent with any statutory

                  3     provisions or these rules, may be applied to a proceeding

                  4     under these rules.


                                                   *****




                                             Add. 6
Case: 22-1027 Case
               Document:  00118013031 Document
                   1:18-cv-12361-DJC    Page: 6238 Filed
                                                   Date 11/03/21
                                                         Filed: 05/22/2023    Entry ID: 6569846
                                                                    Page 1 of 12




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS
      __________________________________________
                                                 )
      MARIO CRUZADO,                             )
                                                 )
                  Petitioner,                    )
                                                 )
                  v.                             ) Case No. 18-cv-12361-DJC
                                                 )
                                                 )
      SUPERINTENDENT,                            )
      MCI-NORFOLK,                               )
                                                 )
                  Respondent.                    )
      __________________________________________ )

                                       MEMORANDUM AND ORDER

       CASPER, J.                                                                       November 3, 2021

       I.     Introduction

              Petitioner Mario Cruzado (“Cruzado”), acting pro se, has filed a petition for writ of habeas

       corpus pursuant to 28 U.S.C. § 2254 (the “Petition”). D. 1. The Superintendent of MCI-Norfolk

       (“Respondent”) opposes the Petition. D. 14, 37. For the reasons discussed below, the Court

       DENIES the Petition.

       II.    Standard of Review

              Under the Antiterrorism and Effective Death Penalty Act (“AEDPA”), federal courts may

       review petitions for habeas that have resulted in either a decision that was “contrary to, or involved

       an unreasonable application of, clearly established Federal law” or “based on an unreasonable

       determination of the facts in light of the evidence presented in the State court proceeding.” 28

       U.S.C. § 2254(d). As an initial matter, a petitioner must show that he has exhausted all of his state

       court remedies or, in the alternative, that the State did not offer appropriate corrective measures.

       Id. To carry the burden of proving exhaustion, a petitioner must demonstrate that he has “fairly

                                                         1


                                                 Add. 7
Case: 22-1027 Case
               Document:  00118013031 Document
                   1:18-cv-12361-DJC    Page: 6338 Filed
                                                   Date 11/03/21
                                                         Filed: 05/22/2023    Entry ID: 6569846
                                                                    Page 2 of 12




       and recognizably” presented his claim to the state’s highest court, the Supreme Judicial Court in

       this case. Casella v. Clemons, 207 F.3d 18, 20 (1st Cir. 2000); Adelson v. DiPaola, 131 F.3d 259,

       263 (1st Cir. 1997).

                 For the purposes of § 2254(d)(2), any factual determinations made by a state court are

       “presumed to be correct” unless rebutted by “clear and convincing evidence.”           28 U.S.C.

       § 2254(e)(1). “[A] decision adjudicated on the merits in a state court and based on a factual

       determination will not be overturned on factual grounds unless objectively unreasonable in light

       of the evidence presented in the state-court proceeding.” Miller-El v. Cockrell, 537 U.S. 322, 340

       (2003).

       III.      Relevant Factual and Procedural Background

                 Unless otherwise noted, the factual background set forth below is drawn from the Supreme

       Judicial Court’s decision affirming Cruzado’s conviction. Commonwealth v. Cruzado, 480 Mass.

       275 (2018).

                 A.     The Commission of the Crime

                 The charges against Cruzado arose out of events leading up to and culminating on

       November 26, 2010. Id. at 276. On November 24, 2010, the victim’s boyfriend, Jamie Hernandez

       (“Hernandez”), unexpectantly encountered Cruzado, a former acquaintance of Hernandez. Id.

       Hernandez brought Cruzado to the victim’s apartment in Chelsea, Massachusetts where the three

       drank together. Id. Later that morning, Hernandez brought Cruzado to a bus stop and then returned

       to the victim’s apartment where Hernandez and the victim argued over the whereabouts of the

       victim’s cell phone. Id. Hernandez left the apartment and did not return. Id. Two days later, the

       victim’s body was found in the apartment. Id. The cause of death was strangulation and blunt

       force trauma to the head. Id.



                                                        2


                                                 Add. 8
Case: 22-1027 Case
               Document:  00118013031 Document
                   1:18-cv-12361-DJC    Page: 6438 Filed
                                                   Date 11/03/21
                                                         Filed: 05/22/2023    Entry ID: 6569846
                                                                    Page 3 of 12




              B.      Police Investigation and Charge

              Eleven days later, Hernandez reported to police that Cruzado had made incriminating

       statements about the victim’s death on two separate occasions. Id. Hernandez reported that on the

       first occasion, when he refused to give Cruzado a cigarette, Cruzado threatened to choke

       Hernandez as he had choked the victim. Id. Hernandez furthered that on the second occasion, he

       overheard Cruzado speaking on a cell phone using the word “belt” and “mentioned . . . ha[ving]

       his arm around somebody’s neck.” Id.

              Hernandez also directed investigators to a nearby apartment building where Cruzado was

       found asleep on a landing near a cell phone. Id. at 281. Investigators later questioned Cruzado

       about the cell phone at the police station. Id. Cruzado claimed that he had been given the cell

       phone to use the day before, but he did not know the owner’s name or the telephone number. Id.

       Cruzado claimed the cell phone was not his and that the “dude” left it. Id. When the police asked

       whether Cruzado was supposed to return the cell phone to its owner Cruzado responded, “No.” Id.

       In a recorded interview with police, officers asked Cruzado whether he knew the victim by either

       of his nicknames, to which Cruzado responded, “No.” Id. at 277. The police then showed Cruzado

       a photograph of the victim, giving rise to the following exchange:

              Q.: “I’m going to show you a picture of a guy. See if you’ve ever seen this guy

              before.”

              A.: “Who’s that?”

              Q.: “I’m asking you. Isn’t this – I’m asking you. Have you ever seen this guy

              before? Yes or no?”

              A.: “Who the fuck is that? Just a guy?”

              Q.: “No, listen to me. Listen to me. Have you ever seen this guy before? Yes or



                                                        3


                                               Add. 9
Case: 22-1027 Case
               Document:  00118013031 Document
                   1:18-cv-12361-DJC    Page: 6538 Filed
                                                   Date 11/03/21
                                                         Filed: 05/22/2023    Entry ID: 6569846
                                                                    Page 4 of 12




              no?”

              A.: “He looks like a nigger to me.”

              Q.: “Have you ever seen this guy before?”

              A.: “He looks like a nigger to me.”

              Q.: “Have you ever seen this guy right here before?”

              A.: “He looks like a nigger to me. No. He’s black.”

              Q.: “No. It’s a yes or no question.”

              A.: “He’s black.”

              ...

              Q.: “Yes or no?”

              A.: “Where the fuck I’ve ever seen him? I don’t know that mother fucker.”

              Id.

              Ten days after the police questioned Cruzado about the cell phone, police obtained a

       warrant to search the cell phone. Id. at 281. Information found on the cell phone led police to

       contact Cruzado’s former girlfriend, Hilda Matiaz (“Matiaz”). Id.

              Matiaz told investigators that Cruzado had called her, id. at 276, and told her that he visited

       an African American man’s apartment in Chelsea, Massachusetts, id.. Cruzado recounted falling

       asleep after taking a shower at the apartment and awaking to the man touching Cruzado’s testicles.

       Id. Cruzado said he then fought the man, told him he was “not a fag[g]ot,” and put him in a

       headlock. Id. He said the man then fell to the floor, after which Cruzado put on his clothes and

       left the apartment. Id. On June 24, 2011, Cruzado was indicted and charged with murder in




                                                        4


                                                Add. 10
Case: 22-1027 Case
               Document:  00118013031 Document
                   1:18-cv-12361-DJC    Page: 6638 Filed
                                                   Date 11/03/21
                                                         Filed: 05/22/2023    Entry ID: 6569846
                                                                    Page 5 of 12




       violation of Mass. Gen. L. c. 265 § 1 and receiving stolen property in violation of Mass. Gen. L.

       c. 250 § 60.1 D. 36 at 1.

              C.      Relevant State Court Proceedings

              Cruzado’s trial began on December 11, 2012. D. 36 at 1. On December 18, 2012, the jury

       returned a guilty verdict of first-degree murder. Id. at 2. The trial court sentenced Cruzado to a

       term of life imprisonment. Id.

              In his timely appeal to the Supreme Judicial Court, Cruzado raised five claims: (1) the trial

       court erroneously admitted certain portions of the recorded interview between Cruzado and police;

       (2) the trial court erroneously allowed Hernandez to testify about the argument he had with the

       victim; (3) Cruzado’s trial counsel should have been allowed to question Matiaz about whether

       she was a drug dealer; (4) Cruzado’s counsel was ineffective for failing to move to suppress

       information derived from the cell phone seized by police; and (5) the Commonwealth did not

       present physical evidence of the defendant’s guilt. Cruzado, 480 Mass. at 277. The Supreme

       Judicial Court addressed each of these claims and affirmed the petitioner’s first-degree murder

       conviction on August 10, 2018. Id. at 285; D. 37 at 8.

              D.      This Petition

              In the Petition, Crichlow asserts the following grounds for habeas relief: (1) that Cruzado’s

       right to due process was violated when the trial court allowed, over Cruzado’s objection, admission

       of portions of a recorded police interview in which Cruzado uses the N-word in reference to the

       victim (Ground One); and (2) Cruzado’s trial counsel was ineffective for failing to file a motion




       The receipt of stolen property charge was dismissed on the Commonwealth’s motion on
       1

       December 19, 2012. D. 36 at 2.
                                                        5


                                                Add. 11
Case: 22-1027 Case
               Document:  00118013031 Document
                   1:18-cv-12361-DJC    Page: 6738 Filed
                                                   Date 11/03/21
                                                         Filed: 05/22/2023    Entry ID: 6569846
                                                                    Page 6 of 12




       to suppress regarding the search and seizure of the cell phone (Ground Two). D. 1 at 6, 8; D. 36

       at 1.

       IV.     Discussion

               A.     Admission of the Racial Epithet (Ground I)

               Cruzado contends that the Supreme Judicial Court’s decision affirming the state court’s

       admission of his recorded police interview, in which he used the N-word is contrary to clearly

       established federal law. D. 36 at 10-11.

               Cruzado argues that the admission of his use of the racial epithet at trial solely

       demonstrated bad character, which violated his due process rights. D. 36 at 12. He contends that

       the Supreme Judicial Court violated clearly established federal law by affirming the decision. Id.

       at 11. Evidentiary rulings that are so fundamentally unfair that they violate due process may serve

       as grounds for federal habeas corpus relief. Coningford v. Rhode Island, 640 F.3d 478, 484 (1st

       Cir. 2011). Habeas relief will only be triggered, however, if the state court’s application of state

       law was ‘“so arbitrary or capricious as to constitute an independent due process . . . violation.’”

       Id. (quoting Lewis v. Jeffers, 497 U.S. 764, 780 (1990)). “[T]he category of infractions that violate

       ‘fundamental fairness’ [is defined] very narrowly.” Dowling v. U.S., 493 U.S. 342, 352 (1990).

       Such application must violate fundamental conceptions of justice, going against ‘“the

       community’s sense of fair play and decency.’” Id. (quoting Rochin v. California, 342 U.S. 165,

       173 (1952).

               The Supreme Judicial Court reasonably determined that Cruzado did not meet this due

       process standard. Although evidence showing bad character is generally inadmissible, United

       States v. Frankhauser, 80 F.3d 641, 648 (1st Cir. 1996), such evidence may be admissible if it has

       a special probative value, id. (citing United States v. Aguilar-Montoya, 967 F.2d 708, 709 (1st Cir.



                                                        6


                                                  Add. 12
Case: 22-1027 Case
               Document:  00118013031 Document
                   1:18-cv-12361-DJC    Page: 6838 Filed
                                                   Date 11/03/21
                                                         Filed: 05/22/2023    Entry ID: 6569846
                                                                    Page 7 of 12




       1992)); see Dickerson v. United States, 530 U.S. 428, 433-34 (2000). Moreover, Cruzado does

       not claim that any of the statements he made, including the use of the racial epithet, were made

       involuntarily or obtained in a manner incompatible with the requirements of the Constitution. See

       United States v. Monroe, 264 F. Supp. 3d 376, 380, 387-88 (D.R.I. 2017).

              The Supreme Judicial Court’s determination that Cruzado’s statements held a special

       probative value was reasonable. D. 1-2 at 8. “[E]vidence of a defendant’s prior bad acts may not

       be admitted to prove his criminal character or propensity to commit crimes.” United States v.

       Varoudakis, 233 F.3d 113, 118 (1st Cir. 2000). “If the evidence brings unwanted baggage, say,

       unfair prejudice or a cognizable risk of confusing the jury . . . the evidence must be excluded,”

       United States v. Anguilar-Aranceta, 58 F.3d 796, 800 (1st Cir. 1995) (internal quotation marks and

       citations omitted), although only if the “baggage’s weight” substantially outweighs any probative

       value. Id. When the evidence, however, is especially probative of an issue in the case, such as

       intent or motive, it generally overcomes the prejudice bar and may be admitted. See Frankhauser,

       80 F.3d at 648.

              Here, the racially charged language held substantial probative value in demonstrating

       whether the crime may have been partially racially motivated. Cruzado, 480 Mass. at 279. It was

       properly within the discretion of the trial court to allow this testimony when the Commonwealth’s

       theory of the case was that Cruzado could have been “enraged” not just that he was touched

       sexually by the victim, a man, but an African-American man. Id. Moreover, “to mitigate the

       prejudicial effect of the racial slur,” the trial court conducted individual voir dire of the potential

       jurors to front the likely admission of this evidence and address any potential bias. Id. & n.1.

       Moreover, Cruzado did not seek any limiting instruction regarding this evidence and a failure to




                                                         7


                                                 Add. 13
Case: 22-1027 Case
               Document:  00118013031 Document
                   1:18-cv-12361-DJC    Page: 6938 Filed
                                                   Date 11/03/21
                                                         Filed: 05/22/2023    Entry ID: 6569846
                                                                    Page 8 of 12




       give one sua sponte, id. at 279, does not satisfy Cruzado’s burden here. Accordingly, habeas relief

       for Ground I is not warranted here.

               Cruzado additionally argues that when he used the racial epithet during the police

       interview, he denied knowing the victim, and therefore those portions of the recorded interview

       are inadmissible in court. D. 36 at 10. Under Massachusetts law, when a defendant is ‘“charged

       with a crime by an accusation made in his presence” and makes an equivocal reply ‘“susceptible

       of being interpreted as an admission . . . the question or statement and the answer or comment are

       admissible.’” Commonwealth v. Rogers, 8 Mass. App. Ct. 469, 473-74 (quoting Commonwealth

       v. McGrath, 351 Mass. 534, 538 (1967)). The accusatory statement will be admitted “to give

       meaning and effect” to the defendant’s answer which is “admitted as an admission.” Rogers, 8

       Mass. App. Ct. at 474.        A defendant’s unequivocal denial of an accusation, however, is

       inadmissible. Id. at 475 (finding error where the court admitted a recording of police accusing the

       defendant of possessing a gun which the defendant unequivocally denied); see Commonwealth v.

       Spencer, 465 Mass. 32, 46-47, 51 (2013) (holding that the defendant’s unequivocal denials of

       police questions that accused the defendant of lying or asked him to explain the reason why others

       thought he committed a crime were inadmissible).

               Regarding Cruzado’s interview, at no point during the interview in which Cruzado used

       the racial epithet did investigators accuse Cruzado of a crime or of engaging in any criminal

       activity. While it is true that “unequivocal denial[s] of an accusation . . .and the accusation it denies,

       are inadmissible” id. at 46, this rule applies to accusations of guilt. The investigators asked

       Cruzado whether he saw the victim before, to which Cruzado responded, “Who’s that?” Cruzado,

       480 Mass. at 277. Investigators continued to ask Cruzado whether he ever saw the victim before,

       until Cruzado responded, “He looks like a [N-word] to me. No. He’s black.” Id. The questions



                                                           8


                                                   Add. 14
Case: 22-1027 Case
               Document:  00118013031 Document
                   1:18-cv-12361-DJC    Page: 7038 Filed
                                                   Date 11/03/21
                                                         Filed: 05/22/2023    Entry ID: 6569846
                                                                    Page 9 of 12




       posed by police were not accusations, therefore Cruzado responses could not be considered denials

       that would have been inadmissible under Massachusetts law. State-law claims, however, are not

       a basis for federal habeas relief. Waddington v. Sarausad, 555 U.S. 179, 192 n.5 (2009). This

       ground also fails because it is not contrary to clearly established federal law as discussed above.

                For all these reasons, the Petition on Ground I fails.

              B.      Ineffective Assistance of Counsel (Ground II)

              Cruzado’s second ground for habeas corpus relief is that his trial counsel was ineffective

       for failing to file a motion to suppress the seizure and search of the cell phone. D. 36 at 13; D. 1-

       2 at 12. To establish ineffective assistance of counsel under Strickland v. Washington, 466 U.S.

       668 (1984), Cruzado must show: “(1) deficient performance by counsel (2) resulting in prejudice.”

       Yeboah-Sefah v. Ficco, 556 F.3d 53, 70 (1st Cir. 2009) (quoting Malone v. Clarke, 536 F.3d 54,

       63 (1st Cir. 2008)). To demonstrate deficient performance, Cruzado must illustrate that the

       counsel’s performance “fell below an objective standard of reasonableness under the

       circumstances.” Ficco, 556 F.3d at 70 (quoting Sleeper v. Spencer, 510 F.3d 32, 38 (1st Cir.

       2007)). To demonstrate prejudice, Cruzado must show, “that, but for the counsel’s unprofessional

       error, there is reasonable probability that the result of the proceeding would have been different.”

       Ficco, 556 F.3d at 70 (quoting Sleeper, 510 F.3d at 39).

              The legal standards created by Strickland and § 2254 are both highly deferential, . . . when

       the two apply in tandem, review is doubly so.”2 Harrington v. Ritcher, 562 U.S. at 105 (citations

       and quotation marks omitted). “The Strickland standard [itself] is a general one, so the range of

       reasonable applications is substantial.” Id. When habeas applies, the question is not whether



       2
        Massachusetts’s ineffective assistance of counsel standard does not employ “identical
       phraseology” as the Strickland standard, but the two are “functional[ly] equivalent” for habeas
       purposes. See Ouber v. Guarino, 293 F.3d 19, 32 (1st Cir. 2002).
                                                         9


                                                 Add. 15
Case: 22-1027 Case
                Document:  00118013031Document
                   1:18-cv-12361-DJC     Page: 71   Date11/03/21
                                                38 Filed Filed: 05/22/2023
                                                                   Page 10 of Entry
                                                                              12 ID: 6569846




       counsel’s actions were reasonable, but rather whether there is “any reasonable argument that

       counsel satisfied Strickland’s deferential standard.” Id. In other words, the pivotal question here

       is whether the Supreme Judicial Court’s application was reasonable. See Mello v. DiPaulo, 295

       F.3d 137, 143 (1st Cir. 2002); Harrington, 562 U.S. at 105.

              Regarding the first Strickland requirement, deficiency will only be found where “counsel’s

       choice was so patently unreasonable that no competent attorney would have made it.” Williams

       v. United States, 858 F.3d 708, 715 (1st Cir. 2017) (internal quotation marks omitted) (quoting

       Knight v. Spencer, 447 F.3d 6, 15 (1st Cir. 2006)). Regarding the prejudice requirement, relief

       will only be granted if Cruzado has demonstrated that there is a reasonable probability that the

       result of the proceeding would have been different if not for counsel’s error. Strickland, 466 U.S.

       at 694. Even if counsel made a professionally unreasonable error, however, the judgment of a

       criminal proceeding will not be set aside if that error has no effect on the judgment. Id.

              Here Cruzado contends that his trial counsel was ineffective in failing to move to suppress

       the search and seizure of the cell phone police found located near Cruzado. D. 36 at 13. Cruzado

       argues that if his trial counsel had filed a motion to suppress on these grounds, the motion would

       have been successful. Id. As to this claim, the Supreme Judicial Court concluded that the motion

       to suppress would have been unsuccessful because police had probable cause to seize and search

       the cell phone (including that the Cruzado and the victim had been together on the day of the

       murder and that Hernandez had recently overhead Cruzado make inculpatory statements to an

       unidentified person on a cell phone), but also because there were “exigent circumstances” for the

       warrantless seizure including “the risk of someone taking or tampering with the cell phone” and

       that if “[l]eft unattended, especially in an area to which many people had access [i.e., stairwell of

       an apartment building], the cell phone would have been at risk of ‘theft or vandalism.’” Cruzado,



                                                        10


                                                Add. 16
Case: 22-1027 Case
                Document:  00118013031Document
                   1:18-cv-12361-DJC     Page: 72   Date11/03/21
                                                38 Filed Filed: 05/22/2023
                                                                   Page 11 of Entry
                                                                              12 ID: 6569846




       480 Mass at 282-83. It cannot be said that Cruzado’s attorney was ineffective for failing to bring

       a futile motion. Vieux v. Pepe, 184 F.3d 59, 64 (1st Cir. 1999); DeLong v. Brady, 723 F. Supp. 2d

       376, 393 (D. Mass. 2010).

              For similar reasons, Cruzado has failed to satisfy the prejudice prong of the Strickland test.

       For this prong, a petitioner must show “that there exists a reasonable probability that, but for

       counsel’s unprofessional errors, the result of the proceeding would have been different.” Turner

       v. United States, 699 F.3d 578, 584 (1st Cir. 2012) and cases cited. Given the reasons that a motion

       to suppress, if one had been filed by counsel, would have futile given the facts and circumstances

       here, this Court also concludes that Cruzado has failed to show that “but for” for counsel’s failure

       to file such motion, the outcome of his trial would have been different. Smith, 528 U.S. at 285-

       86. Accordingly, the Petition fails on Ground II as well.

       V.     Conclusion and Certificate of Appealability

              For the foregoing reasons, the Court DENIES the Petition, D.1. Cruzado may receive a

       certificate of appealability only if he “has made a substantial showing of the denial of a

       constitutional right.” 28 U.S.C. § 2253(c)(2). A certificate of appealability is appropriate when

       “reasonable jurists would find the district court's assessment of the constitutional claim debatable

       or wrong.” Miller–El, 537 U.S. at 338 (internal quotations omitted). Based upon the analysis of

       the record and the applicable law in this Memorandum and Order, the Court does not, at this

       juncture, conclude that reasonable jurists would find its conclusion debatable or wrong. The Court,

       therefore, is not inclined to issue a certificate of appealability, but will give Cruzado until

       December 3, 2021 to file a memorandum, if he seeks to address the issue of whether a certificate

       of appealability is warranted as to either or both grounds in the Petition.

              So Ordered.



                                                        11


                                                 Add. 17
Case: 22-1027 Case
                Document:  00118013031Document
                   1:18-cv-12361-DJC     Page: 73   Date11/03/21
                                                38 Filed Filed: 05/22/2023
                                                                   Page 12 of Entry
                                                                              12 ID: 6569846




                                                      /s/ Denise J. Casper
                                                      United States District Judge




                                             12


                                       Add. 18
Case: 22-1027 Case
               Document: 00118013031 Document
                   1:18-cv-12361-DJC  Page: 7439 Date
                                                 Filed Filed: 05/22/2023
                                                       11/03/21   Page 1 of Entry
                                                                            1     ID: 6569846




                                   UNITED STATES DISTRICT COURT

                                     DISTRICT OF MASSACHUSETTS


      MARIO CRUZADO



       V.                                                  CIVIL ACTION NO. 18-12361-DJC



       SUPERINTENDENT MCI
       NORFOLK




                                         ORDER OF DISMISSAL



       CASPER, D.J.

              In accordance with the Memorandum and Order dated November 3, 2021 denying the

       habeas petition, D. 1, the above-entitled action be and hereby is DISMISSED.



       November 3, 2021                                           /s/ Lisa M. Hourihan
                                                                  Deputy Clerk




                                               Add. 19
Case: 22-1027      Document: 00118013031               Page: 75        Date Filed: 05/22/2023           Entry ID: 6569846




       Judge Denise J. Casper: ELECTRONIC ORDER entered. D. 42: Having considered the Petitioner's
       further filing seeking a certificate of appealability as to Ground One in the habeas petition, the Court
       GRANTS a certificate of appealability but only as to Ground One in the Petition.(Hourihan, Lisa)
       (Entered: 01/04/2022)




                                                    Add. 20
Case: 22-1027   Document: 00118013031    Page: 76   Date Filed: 05/22/2023   Entry ID: 6569846




       NOTICE: All slip opinions and orders are subject to formal
       revision and are superseded by the advance sheets and bound
       volumes of the Official Reports. If you find a typographical
       error or other formal error, please notify the Reporter of
       Decisions, Supreme Judicial Court, John Adams Courthouse, 1
       Pemberton Square, Suite 2500, Boston, MA, 02108-1750; (617) 557-
       1030; SJCReporter@sjc.state.ma.us

       SJC-11670

                         COMMONWEALTH      vs.    MARIO CRUZADO.



                   Suffolk.      May 11, 2018. - August 10, 2018.

           Present:    Gants, C.J., Gaziano, Lowy, Budd, & Cypher, JJ.


       Homicide. Evidence, Videotape, Admissions and confessions,
            Inflammatory evidence, Motive, Hearsay, Cross-examination.
            Practice, Criminal, Capital case, Admissions and
            confessions, Hearsay, Assistance of counsel.
            Constitutional Law, Assistance of counsel, Search and
            seizure, Probable cause. Search and Seizure, Probable
            cause, Exigent circumstances.



            Indictment found and returned in the Superior Court
       Department on June 24, 2011.

            The case was tried before Linda E. Giles, J., and a motion
       for a new trial, filed on July 1, 2016, was considered by her.


            Ruth Greenberg for the defendant.
            Colby M. Tilley, Assistant District Attorney, for the
       Commonwealth.


            BUDD, J.    On November 26, 2010, the day after Thanksgiving,

       Frederick Allen, III, was found dead in his home.             The

       defendant, Mario Cruzado, was convicted of murder in the first




                                        Add. 21
Case: 22-1027    Document: 00118013031    Page: 77   Date Filed: 05/22/2023   Entry ID: 6569846

                                                                                      2


       degree in connection with the killing.          In this consolidated

       appeal from the judgment of conviction and from the denial of

       his motion for a new trial, the defendant argues that errors

       committed by his counsel and by the judge require a reversal of

       his conviction.     Upon review, we affirm and decline to reduce or

       set aside his conviction under G. L. c. 278, § 33E.

            Background.     We summarize the facts the jury could have

       found, reserving certain details for discussions of the issues.

            On the day before Thanksgiving in 2010, the victim's boy

       friend, Jaime Hernandez, encountered the defendant, a former

       acquaintance, and brought him to the victim's apartment in

       Chelsea.    The three spent time drinking; later that morning,

       Hernandez left the defendant at a bus stop.            When Hernandez

       returned to the victim's apartment, he argued with the victim

       over the whereabouts of the victim's cellular telephone (cell

       phone).    As a result, Hernandez left the apartment and did not

       return.    Two days later, the victim's body was discovered.              An

       autopsy revealed that the cause of death was strangulation and

       blunt force trauma to his head.

            Eleven days later, Hernandez reported to police that he had

       twice encountered the defendant, and that each time the

       defendant had made incriminating statements about the victim's

       death.    During the first encounter, Hernandez reported that when

       Hernandez refused to give the defendant a cigarette, the




                                         Add. 22
Case: 22-1027    Document: 00118013031    Page: 78    Date Filed: 05/22/2023   Entry ID: 6569846

                                                                                        3


       defendant threatened to choke Hernandez like he had choked the

       victim.    The second incident occurred the next day, when

       Hernandez overheard the defendant, who was in an apartment

       building speaking on a cell phone.            In a blend of Spanish and

       English, the defendant used the word "belt" and "mentioned . . .

       ha[ving] his arm around somebody's neck."

            Hilda Matiaz, the defendant's former girl friend, told

       investigators that the defendant telephoned her and told her the

       following.     The defendant visited an African-American man's

       apartment in Chelsea.      The defendant showered, fell asleep, and

       woke to the man touching the defendant's testicles.               The

       defendant fought the man and said he was "not a fag[g]ot."                 The

       defendant put the man in a headlock, and the man fell to the

       floor.    The defendant then put on his clothes and left the

       apartment.

            Discussion.     The defendant contends that several errors

       require reversal.      First, he challenges the trial judge's

       admission of portions of a video recording of an interview

       between police and the defendant.           Second, he claims it was

       error for the judge to allow Hernandez to testify regarding the

       argument that Hernandez had with the victim.             Third, he contends

       that he was improperly precluded from questioning Matiaz about

       whether she was a drug dealer.         Fourth, he appeals from the

       denial of his motion for a new trial on the ground that his




                                         Add. 23
Case: 22-1027    Document: 00118013031    Page: 79    Date Filed: 05/22/2023   Entry ID: 6569846

                                                                                       4


       counsel was constitutionally ineffective for failing to file a

       motion to suppress.      Finally, he asks this court to reverse his

       conviction or reduce his verdict pursuant to G. L. c. 278,

       § 33E, on the ground that the Commonwealth presented no physical

       evidence of his guilt.      We address each claim in turn.

            1.    Defendant's recorded police interview.            The defendant

       argues that portions of a recorded police interview were

       admitted in error.      In portions of the video recording played

       for the jury, State police troopers asked the defendant whether

       he knew the victim.      When asked whether the defendant knew the

       victim by either of his nicknames, the defendant responded,

       "No."     Later, after the police showed a photograph of the victim

       to the defendant, the defendant and the troopers had the

       following exchange:

            Q.: "I'm going to show you a picture of a guy.                 See if
            you've ever seen this guy before."

            A.:    "Who's that?"

            Q.: "I'm asking you. Isn't this -- I'm asking you.                  Have
            you ever seen this guy before? Yes or no?"

            A.:    "Who the fuck is that?          Just a guy?"

            Q.: "No, listen to me. Listen to me.               Have you ever seen
            this guy before? Yes or no?"

            A.:    "He looks like a nigger to me."

            Q.:    "Have you ever seen this guy before?"

            A.:    "He looks like a nigger to me."




                                         Add. 24
Case: 22-1027    Document: 00118013031    Page: 80   Date Filed: 05/22/2023   Entry ID: 6569846

                                                                                      5


            Q.:     "Have you ever seen this guy right here before?"

            A.:     "He looks like a nigger to me.        No.   He's black."

            Q.:     "No.   It's a yes or no question."

            A.:     "He's black."

            . . .

            Q.:     "Yes or no?"

            A.: "Where the fuck I've ever seen him?             I don't know that
            mother fucker."

            Although an opposing party's statements are generally

       admissible against him or her, see Commonwealth v. Spencer, 465

       Mass. 32, 46 (2013); Mass. G. Evid. § 801(d)(2)(A) (2018), the

       defendant contends that admission of these portions of the

       videotaped interview was error.         We disagree.

            a.    Defendant's denials.       "It is well established . . .

       that if the extrajudicial statement by a criminal defendant is

       an unequivocal denial of an accusation, it, and the accusation

       it denies, are inadmissible."         Spencer, 465 Mass. at 46.        The

       defendant argues that, for this reason, portions of the video

       recording in which he denied knowing the victim were

       inadmissible.

            However, the questions regarding the defendant's

       familiarity with the victim were not accusations of guilt; that

       is, the question whether the defendant knew the victim was not

       directly tied to the defendant's culpability.            Compare




                                         Add. 25
Case: 22-1027      Document: 00118013031    Page: 81    Date Filed: 05/22/2023   Entry ID: 6569846

                                                                                         6


       Commonwealth v. Womack, 457 Mass. 268, 272 (2010) (defendant's

       responses to assertions that defendant committed crime

       improperly admitted at trial).           Because the questions

       investigators posed regarding whether he recognized or knew the

       victim did not accuse him of criminal activity, the defendant's

       statements denying that he knew the victim were properly

       admitted.

              b.    Evidence of racial animus.          The defendant also

       challenges the admission of portions of the interview in which

       he refers to the victim as "a nigger," arguing that the

       reference was irrelevant and unduly prejudicial.                Again, we

       discern no error.

              Although the prosecution is not permitted to introduce

       evidence of a defendant's bad character to show his or her

       "propensity to commit the crime charged, . . . such evidence may

       be admissible if relevant for some other purpose," including

       motive.      Commonwealth v. Howard, 469 Mass. 721, 738 (2014),

       quoting Commonwealth v. Helfant, 398 Mass. 214, 224 (1986).

              The defendant was accused of killing a gay African-American

       man.     The Commonwealth offered the evidence to show the

       defendant's animus toward African-Americans, and thus as a

       partial motive for the killing.           See Commonwealth v. Bishop, 461

       Mass. 586, 596-597 (2012) (statement suggesting racial animus

       properly admitted to show motive).              See also Commonwealth v.




                                           Add. 26
Case: 22-1027    Document: 00118013031    Page: 82   Date Filed: 05/22/2023   Entry ID: 6569846

                                                                                      7


       Carlson, 448 Mass. 501, 508-509 (2007) (although motive is not

       essential element of murder in first degree, evidence of motive

       may be relevant to malice or intent).          Concluding that "the

       Commonwealth is entitled to elicit the fact that [the defendant]

       could have been enraged, not just because he was allegedly

       touched by this gay man, but he was allegedly touched by an

       African-American man," the judge did not abuse her discretion in

       determining that the probative value of the evidence outweighed

       its prejudicial effect.      See Spencer, 465 Mass. at 52 (weighing

       of prejudice and probative value left to discretion of trial

       judge).

            To mitigate the prejudicial effect of the racial slur,

       moreover, the judge conducted an individual voir dire of

       potential jurors to eliminate potential bias.1            See Commonwealth

       v. Alleyne, 474 Mass. 771, 780 (2016) (discussing use of voir

       dire to mitigate prejudice); Commonwealth v. De La Cruz, 405

       Mass. 269, 274 (1989) ("when requested, we encourage individual

       voir dire as to possible juror prejudice based on ethnic

       considerations").      Although the judge did not provide a limiting

       instruction, the defendant did not request one.             "[T]here is no


            1 The judge inquired of each prospective juror: "The
       defendant is Hispanic; the alleged victim was African-American.
       You'll also hear evidence that the defendant allegedly referred
       to the alleged victim as a nigger. Do you have any feelings,
       based on race, that might affect your ability to be fair and
       impartial?"




                                         Add. 27
Case: 22-1027    Document: 00118013031    Page: 83   Date Filed: 05/22/2023    Entry ID: 6569846

                                                                                       8


       requirement that the judge give limiting instructions sua

       sponte."    Commonwealth v. Sullivan, 436 Mass. 799, 809 (2002).

       "Nor does the lack of a limiting instruction necessarily create

       a substantial likelihood of a miscarriage of justice."                 Id.   See

       Bishop, 461 Mass. at 596-597 (no abuse of discretion despite

       lack of limiting instruction on use of word "nigger").2,3

            2.    Admission of argument between Hernandez and victim.

       The Commonwealth elicited testimony from Hernandez regarding an

       argument Hernandez had with the victim over the whereabouts of

       the victim's cell phone after the defendant left.              Hernandez

       testified that when he denied having stolen the cell phone, the

       victim concluded that the defendant had stolen it.              Hernandez

       further testified that, after the argument, Hernandez left the

       victim's apartment and did not return.          The defendant claimed at

       trial, and again on appeal, that the testimony, which supported

       Hernandez's alibi, was hearsay.         We disagree.

            An out-of-court statement not offered for its truth is not

       hearsay.    See Commonwealth v. Jenkins, 458 Mass. 791, 793


            2 The defendant's argument that the admission of the word
       "nigger" as evidence of racial animus violated his due process
       rights is unavailing, as the word came from his own mouth
       several times.

            3 Because the evidence was properly admitted, it was also
       proper for the prosecutor to comment on it in closing argument.
       Prosecutors may argue "based on the evidence and on inferences
       that may reasonably be drawn from the evidence." Commonwealth
       v. Kozec, 399 Mass. 514, 516 (1987).




                                         Add. 28
Case: 22-1027    Document: 00118013031    Page: 84    Date Filed: 05/22/2023   Entry ID: 6569846

                                                                                       9


       (2011); Commonwealth v. Silanskas, 433 Mass. 678, 693 (2001).

       Hernandez's testimony about the argument was not offered to

       prove that the defendant stole the victim's cell phone but,

       rather, to show that Hernandez and the victim argued, that

       Hernandez subsequently left, and why he did not return.                 See

       Commonwealth v. Perkins, 450 Mass. 834, 844 (2008).               See also

       Commonwealth v. Keown, 478 Mass. 232, 246 (2017), cert. denied,

       138 S. Ct. 1038 (2018); Commonwealth v. Brown, 474 Mass. 576,

       587 (2016).     To ensure that the jury did not use Hernandez's

       statements to prove the truth of what they asserted, the judge

       instructed the jury on the matter.            See Commonwealth v. Santana,

       477 Mass. 610, 622 (2017).         She told the jury that the

       Commonwealth was not alleging that the defendant stole the cell

       phone in question, and that they should not consider it for that

       purpose.    There was no error.       See id.

            3.    Matiaz's cross-examination.          Although the defendant

       claimed that he did not know the victim and that he had never

       been to the victim's home, the Commonwealth presented evidence

       that, on November 24, 2010, five calls were made from the

       victim's landline telephone to Matiaz, who was known to the

       defendant but not to the victim.4           In an attempt to advance the


            4 The telephone calls were made between 5:57 P.M. and 6:44
       P.M., providing strong circumstantial evidence that the
       defendant returned to the victim's apartment on the evening of
       the victim's death, after Hernandez had left for the last time.




                                         Add. 29
Case: 22-1027   Document: 00118013031    Page: 85    Date Filed: 05/22/2023   Entry ID: 6569846

                                                                                     10


       theory that it was in fact the victim who called Matiaz because

       he was seeking illegal drugs, defense counsel sought to question

       Matiaz regarding whether she was a drug dealer.             The trial judge

       disallowed that line of questioning.           The defendant claims on

       appeal that he was improperly precluded from advancing a viable

       defense.   The judge did not err.

            A defendant has a right to cross-examine witnesses who

       testify against him or her, but that right has limits.

       Commonwealth v. Johnson, 431 Mass. 535, 540 (2000).              Those

       limits include the requirement that the questions have a

       legitimate basis in evidence.        Id.     See Mass. R. Prof. C.

       3.4 (e) (1), as appearing in 471 Mass. 1425 (2015) ("A lawyer

       shall not . . . state or allude to any matter that the lawyer

       does not reasonably believe . . . will not be supported by

       admissible evidence . . .").        Accord Commonwealth v. Hart, 455

       Mass. 230, 240 (2009).     The judge did not abuse her discretion

       by disallowing any reference to the defense's theory that Matiaz

       was a drug dealer on the grounds that it was speculative and

       without evidentiary support.        The defendant made no proffer that

       there was any relationship between Matiaz and the victim.

       Further, the only support for the defense theory that Matiaz was

       a cocaine dealer was that she had been arrested for possessing

       heroin three years prior to the killing.           There is no logical

       connection between a 2007 arrest for possession of heroin and




                                        Add. 30
Case: 22-1027    Document: 00118013031    Page: 86   Date Filed: 05/22/2023   Entry ID: 6569846

                                                                                     11


       the defense theory that, years later, Matiaz was known to the

       victim as a cocaine dealer.         There was no error.5

            4.    Ineffective assistance of counsel.          Thirteen days after

       the killing, Hernandez informed police of incriminating

       statements that the defendant made while speaking to a person

       later identified as Matiaz.         Hernandez directed police to a

       nearby apartment building, where they found the defendant asleep

       on a landing; a cell phone was on the floor approximately one

       foot away from him.      During questioning at the station, the

       defendant claimed that a "crack head" had given the cell phone

       to him to use a day prior, but that he did not know the owner's

       name or the telephone number.         When confronted with the cell

       phone, although he twice claimed it was not his, he also said

       that the "dude" left it, responding "no" when police asked

       whether the defendant was supposed to return the cell phone.

       Ten days later, police sought and received a warrant to search

       the cell phone, which led police to contact Matiaz.

            The defendant now claims that his trial counsel was

       ineffective for failing to move to suppress the cell phone and




            5 The defendant's related claim that it was a violation of
       due process for the prosecutor to exploit the absence of
       evidence that was excluded at her request is also unavailing.
       The line of questioning prohibited was that Matiaz was a drug
       dealer. The prosecutor argued only that Matiaz knew neither the
       victim nor Hernandez; she did not address the question whether
       Matiaz was a drug dealer. The argument was proper.




                                         Add. 31
Case: 22-1027   Document: 00118013031    Page: 87   Date Filed: 05/22/2023   Entry ID: 6569846

                                                                                     12


       its contents.6    In cases of murder in the first degree, in order

       to prevail on a claim of ineffective assistance of counsel due

       to a failure to move to suppress evidence, the defendant must

       demonstrate both that the motion would have been successful and

       that counsel's failure to make the motion created a substantial

       likelihood of a miscarriage of justice.          Commonwealth v.

       Williams, 453 Mass. 203, 207 (2009), citing Commonwealth v.

       Wright, 411 Mass. 678, 682 (1992), S.C., 469 Mass. 447 (2014).

       The defendant contends that police seized the cell phone without

       probable cause and waited an unreasonable amount of time before

       applying for and obtaining a warrant to search its contents, and

       that thus a motion to suppress would have been successful.               We

       disagree.

            First, we note that, although the cell phone did not belong

       to the defendant, he had a possessory interest in it; thus, he

       would have had standing to contest its seizure.7            See

       Commonwealth v. Fulgiam, 477 Mass. 20, 35-36, cert. denied, 138

       S. Ct. 330 (2017) (possessory interest established standing to


            6 The defendant unsuccessfully made the same claim in a
       motion for a new trial.

            7 The defendant claims, incorrectly, that the charges
       against him grant him automatic standing. Our case law provides
       for automatic standing from criminal charges where possession of
       the thing seized is an essential element of the crime charged.
       Commonwealth v. Montanez, 410 Mass. 290, 301 (1991). Possession
       is not an element of murder in the first degree. See
       Commonwealth v. Lodge, 431 Mass. 461, 474 (2000).




                                        Add. 32
Case: 22-1027   Document: 00118013031    Page: 88    Date Filed: 05/22/2023   Entry ID: 6569846

                                                                                     13


       challenge search of cell phone even though defendant did not own

       cell phone searched).     Indeed, a critical part of the

       Commonwealth's theory of the case was that the cell phone was

       the defendant's.    See id. at 36.         However, although the

       defendant had standing to challenge the seizure of the cell

       phone, any such challenge would have failed, as police had

       probable cause to seize the cell phone and exigent circumstances

       existed to do so without a warrant.          See Commonwealth v. White,

       475 Mass. 583, 588 (2016).

            When the police encountered the defendant sleeping in the

       stairwell with the cell phone on the floor near his head, they

       had information that the defendant and victim had been together

       on the day of the murder, and also that Hernandez had recently

       overheard the defendant confessing to the murder to an

       unidentified person on a cell phone.          This provided ample

       probable cause to believe that the cell phone located near the

       defendant would contain evidence of the crime.             See Commonwealth

       v. Kaupp, 453 Mass. 102, 105-106 (2009).

            Further, exigent circumstances supported the warrantless

       seizure:   the risk of someone taking or tampering with the cell

       phone.   Left unattended, especially in an area to which many

       people had access, the cell phone would have been at risk of

       "theft or vandalism."     See Commonwealth v. Daley, 423 Mass. 747,

       750 (1996) (discussing impoundment of vehicles).             "With probable




                                        Add. 33
Case: 22-1027   Document: 00118013031    Page: 89   Date Filed: 05/22/2023   Entry ID: 6569846

                                                                                    14


       cause, the police may seize property 'to prevent destruction or

       removal of evidence'" before obtaining a search warrant.

       Commonwealth v. Gentile, 437 Mass. 569, 573 (2002), quoting

       Commonwealth v. Taylor, 426 Mass. 189, 195 (1997).             See Riley v.

       California, 134 S. Ct. 2473, 2486 (2014) (discussing risk of

       data being deleted from cell phone); Kaupp, 453 Mass. at 106.

            Given the defendant's possessory interest in the cell

       phone, we next consider the reasonableness of the ten-day delay

       from the police's seizure of the cell phone to their application

       for a warrant to search it.8

            Although police are permitted to hold a seized item for

       "the relatively short period of time needed . . . to obtain a

       search warrant," they must "release the item if a warrant is not

       obtained within that period."        White, 475 Mass. at 593, quoting

       Gentile, 437 Mass. at 573.        We have said that there is no

       bright-line rule that demarcates when a delay is unreasonable.

       White, supra.    Instead, we analyze each case by its own facts,

       "balanc[ing] the nature and quality of the intrusion on the

       individual's [interests under the Fourth Amendment to the United

       States Constitution] against the importance of the government

       interests alleged to justify the intrusion."           Id. at 593-594,

       quoting United States v. Place, 462 U.S. 696, 703 (1983).

            8 Contrary to the Commonwealth's argument, it is not at all
       clear that the defendant intended to abandon the cell phone at
       the police station.




                                        Add. 34
Case: 22-1027      Document: 00118013031    Page: 90   Date Filed: 05/22/2023   Entry ID: 6569846

                                                                                       15


              Here, the defendant's minimal possessory interest was far

       outweighed by the government's interest in obtaining evidence

       regarding a recent murder.9          Although the defendant claimed to be

       using the cell phone, he admitted that he had only had it for a

       day.       Moreover, he was unaware of the identity of its actual

       owner, or even of its number, and he repeatedly told police that

       the cell phone was not his.           Critically, police likely would not

       have been able to return the cell phone to the defendant even if

       he had requested it:        they would not have been able to ascertain

       that the cell phone belonged to the defendant, as he stated that

       he had received it from a male "crack head" and the cell phone

       had the name "Vanessa" displayed on it.10            Whatever possessory

       interest the defendant had in the cell phone was thus extremely

       weak, in contrast to that in White, upon which the defendant

       primarily relies.        In that case, the defendant was the actual

       owner of the cell phone seized.           White, 475 Mass. at 595 n.15.




              We have said that whether police acted diligently in
              9

       applying for the warrant is a factor that may be relevant. See
       Commonwealth v. White, 475 Mass. 583, 594 (2016). However, we
       have never said that it is a dispositive factor. Here, the
       record is silent as to police work on applying for the warrant
       in the ten days in question.

              The cell phone was later determined to belong to a woman
              10

       named "Vanessa," who had lost it. Indeed, the Commonwealth
       initially charged the defendant with receiving stolen property,
       dismissing the charge only when the defendant stipulated that
       the cell phone belonged to someone else.




                                           Add. 35
Case: 22-1027     Document: 00118013031    Page: 91   Date Filed: 05/22/2023     Entry ID: 6569846

                                                                                        16


             The Commonwealth's interest in the cell phone, by contrast,

       was strong:      police had probable cause to believe that evidence

       critical to a recent murder was present on the cell phone, as

       discussed supra.      There can be no doubt that there is a "strong

       government interest in solving crimes and bringing offenders to

       justice."      United States v. Hensley, 469 U.S. 221, 229 (1985).

       This interest is particularly strong "in the context of felonies

       or crimes involving a threat to public safety," such as murder.

       Id.   Judged against the defendant's minimal possessory interest,

       the governmental interests justified a ten-day delay.                   See

       Kaupp, 453 Mass. at 106-107 (nine-day delay reasonable in

       investigation of child pornography).           A motion to suppress the

       cell phone and its contents would have been unavailing; thus,

       the defendant's ineffective assistance claim fails.

             5.    Review under G. L. c. 278, § 33E.          The defendant asks

       us to exercise our extraordinary power to set aside or reduce

       his verdict under G. L. c. 278, § 33E.11           His main argument is

       that it is "close to impossible" for the defendant to have spent

       so much time in the victim's apartment and yet "left not one


              In response to a request by this court, the parties
             11

       provided further briefing on the question whether defense
       counsel was ineffective for failing to request an instruction on
       provocation. In Commonwealth v. Pierce, 419 Mass. 28 (1994), we
       rejected a provocation instruction on facts nearly
       indistinguishable from these. Although the victim touching the
       defendant's testicles was offensive, "it was not the type of
       behavior that would provoke a reasonable person into a homicidal
       response." Id. at 32.




                                          Add. 36
Case: 22-1027    Document: 00118013031    Page: 92   Date Filed: 05/22/2023   Entry ID: 6569846

                                                                                     17


       trace."     This is not a compelling reason to grant relief under

       § 33E.    Defense counsel vigorously cross-examined witnesses

       regarding the lack of physical evidence, and focused on it in

       closing argument.      The Commonwealth, by contrast, presented

       testimonial and documentary evidence that, although

       circumstantial, was found to be sufficient to convict the

       defendant.     See Commonwealth v. Gonzalez, 475 Mass. 396, 407

       (2016) (circumstantial evidence alone may be sufficient to

       convict).     "We do not sit as a second jury to pass anew on the

       question of the defendant's guilt."           Commonwealth v. Watkins,

       373 Mass. 849, 853 (1977).         See Commonwealth v. Wood, 469 Mass.

       266, 269 (2014) (declining to grant relief under G. L. c. 278,

       § 33E, despite "lack of forensic evidence tying either

       [defendant] to the crime scene"); Commonwealth v. Williams, 450

       Mass. 645, 656 (2008) ("The lack of forensic evidence . . . was

       argued to the jury . . . and was for them to consider").

                                                   Judgment affirmed.

                                                   Order denying motion for a
                                                     new trial affirmed.




                                         Add. 37
Case: 22-1027   Document: 00118013031    Page: 93   Date Filed: 05/22/2023   Entry ID: 6569846




                                        Add. 38
Case: 22-1027   Document: 00118013031    Page: 94   Date Filed: 05/22/2023   Entry ID: 6569846




                                        Add. 39
Case: 22-1027   Document: 00118013031    Page: 95   Date Filed: 05/22/2023   Entry ID: 6569846




                                        Add. 40
Case: 22-1027   Document: 00118013031    Page: 96   Date Filed: 05/22/2023   Entry ID: 6569846




                                        Add. 41
Case: 22-1027   Document: 00118013031    Page: 97   Date Filed: 05/22/2023   Entry ID: 6569846




                                        Add. 42
Case: 22-1027   Document: 00118013031    Page: 98   Date Filed: 05/22/2023   Entry ID: 6569846




                                        Add. 43
Case: 22-1027   Document: 00118013031    Page: 99   Date Filed: 05/22/2023   Entry ID: 6569846




                                        Add. 44
Case: 22-1027   Document: 00118013031   Page: 100   Date Filed: 05/22/2023   Entry ID: 6569846




                                        Add. 45
Case: 22-1027   Document: 00118013031   Page: 101   Date Filed: 05/22/2023   Entry ID: 6569846




                                        Add. 46
Case: 22-1027   Document: 00118013031   Page: 102   Date Filed: 05/22/2023   Entry ID: 6569846




                                        Add. 47
Case: 22-1027   Document: 00118013031   Page: 103   Date Filed: 05/22/2023   Entry ID: 6569846




                                        Add. 48
Case: 22-1027   Document: 00118013031   Page: 104   Date Filed: 05/22/2023   Entry ID: 6569846




                                        Add. 49
Case: 22-1027   Document: 00118013031   Page: 105   Date Filed: 05/22/2023   Entry ID: 6569846




                                        Add. 50
Case: 22-1027   Document: 00118013031   Page: 106   Date Filed: 05/22/2023   Entry ID: 6569846




                                        Add. 51
Case: 22-1027   Document: 00118013031   Page: 107   Date Filed: 05/22/2023   Entry ID: 6569846




                                        Add. 52
Case: 22-1027   Document: 00118013031   Page: 108   Date Filed: 05/22/2023   Entry ID: 6569846




                                        Add. 53
